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MPR Trust

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AMERICAN INTERNATIONAL
SPECIALTY LINES INSURANCE
COMPANY and DOES 1 through 1(),
inclusive,

Claimant,
v.
THE UPPER DECK COMPANY, a
California corporation, and
RICHARD P. MCWILLIAM, individually,
and as Trustee for the MPR Trusfc,

Respondents.

 

THE UPPER DECK COMPANY, a
California corporation, MPR TRUST, a
revocable trust, and RICHARD P.
MCWILLIAM, individually, and as Trustee
for the MPR Trust,

Counter-Claimant,
v.
AMERICAN INTERNATIONAL
SPECIALTY LINES INSURANCE
CGMPANY and ROES l through 10,
inclusive,

Counter-Respondents.

 

 

 

382/017994-0028

CASE NO. 13 195 02486 05

John F. Byrne, Esq.
Stephen D. Kramer, Esq. v
Charles J. Morley, Jr., Esq.

RESPONDENTS’ AND COUNTER-
CLAIMANTS’ OPENING BRIEF

Dates: October 10-13, 2006
October 30-N0v 2,2006

Time: 10:00 a.m.

Location: Amer Arbitration~ qssn
1633 Broadway, 10t Floor
New York, New York

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746613_01 309/16/06 RESPONDENTS AND COUNTER-CLAIMANTS’ TRIAL BRIEF

 

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I. INTRODUCTION AND ARGUMENT SUMMARY.

This action arises out of Claimant/Counter-Respondent American International
Specialty Lines Insurance Company’s, a wholly-owned subsidiary of American
lntemational Group, Inc., (hereinafter referred to as “AIG”) breach of its obligation to pay
policy benefits to its insured, Respondent/Counter-_Claimants The Upper Deck Company,
MPR Trust, and Richard P. McWilliam (collectively the “lnsureds” or separately the
“Insured”). On August 29, 2001, AIG issued its “Fiscal Event lnsurance Policy” (the

“Policy”) to the Insureds, insuring the anticipated benefits of their participation in a tax

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strategy known as the S Corporation Charitable Contribution Strategy (“SC2”) in an

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amount up to $50 million in exchange for the significant premium of $3.25 million.

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Earlier in 2001, the Insureds had paid 8575,000 to purchase the SC2 strategy from KPMG,

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LLP. The Policy was purchased for the express purpose of insuring against the “assertion”

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by any taxing authority that the tax strategy did not provide the tax benefits promised by
KPMG.

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The SC2 strategy and other similar ill-fated tax strategies sold by KPMG have

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resulted in Congressional hearings, KPMG acknowledging its fraud, numerous criminal

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indictments, and KPMG’s agreement to pay approximately $456 million in fines to the

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United States Government. Even AIG’s retained tax experts in this action -- after outlining

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the most favorable case law they could find in favor of AIG’s position -- can say nothing

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more than that if the SC2 strategy has been implemented and maintained precisely in the

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manner AIG now asserts it should have been, the tax strategy “would have had a

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reasonable prospect of success” if the Insureds litigated with the IRS. (Expert Report of

Robert D. Burke, p. 9.) The Insureds, however -- faced with the prospect of paying

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upwards of $150 million dollars in additional taxes and penalties if they litigated and lost

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with the IRS -- have now agreed to settle the claims asserted by the IRS for a payment of

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more than $80 million (approximately $66 million in back taxes and $l4.5 million in

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estimated interest). The additional taxes and interest paid to the California Franchise Tax

Board (“FTB”) total approximately $l7 million. The IRS settlement being entered into by

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the Insureds was not only consented to by AIG, it is on the identical terms offered by the
IRS to each and every one of the other 58 different persons/entities who utilized the SC2
tax strategy.

lncredibly, despite the fact that w -- including some 58 participants -- SC2
strategy ever implemented has been attacked by the IRS, despite the fact that the Insureds
are entering into the identical settlement structure being offered and accepted by the other
“generic” SC2 participants, and despite the fact that AIG issued a policy that expressly
provided coverage based on w “assertion” by a taxing authority that the SC2 strategy was b
not legitimate, AIG has somehow denied coverage under the Policy. AIG’s position is not
only absurdly self-serving, its denial of coverage is in bad faith.

The SC2 transaction was designed, marketed and sold by KPMG to 58 KPMG
clients. The tax strategy -- identical to numerous other similar and admittedly illicit
strategies marketed by KPMG -- was designed to allow owners of an S corporation such as
The Upper Deck Company (“Upper Deck”) to lower their tax liability by 90% over the
course of a specified period of time. As designed by KPMG, SC2 called for the S
corporation’s shareholder to gift 90% of its stock to a charitable organization for a
designated period of time, shifting income to the charitable organization thereby avoiding
taxes on up to 90% of its income during the period in which the charitable organization
remained a shareholder. The S corporation’s pre-gift shareholder could take a tax
deduction for the gifted stock, and would eventually repurchase the stock from the
charitable organization in order to regain control of the corporation and only then resume
making distributions to the shareholders (distributions that by design were limited or non-
existent during the period in which the charitable organization was a shareholder). The
intended end result was a deferred distribution to the original shareholders which would be
immune from taxation because of the charitable organization’s prior ownership of the
stock during the period of time when the profit was actually earned by the S Corporation.

Among many of the shrewd marketing tactics utilized by KPMG to push the sale of
SC2 was the relationship it established with AIG. KPMG targeted AIG’s services to

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provide an insurance option for its SC2 clients, one that would provide coverage for any
taxing authority’s assertion that the SC2 strategy was improper. AIG in fact formulated its
Fiscal Event Insurance Policy to provide this precise and unique coverage for KPMG’s
SC2 clients. In all, AlG insured at least $92.6 million of SC2 risk under its Fiscal Event
lnsurance Policies. lt is the biggest of these policies ($50 million) that the Insureds
purchased from AIG in August 2001 and that is at issue in this case.

At its core, the Policy provides insurance to the Insureds for 850 million for any
action taken by a “Taxing Authority” (i.e., the IRS or the FTB) which alleged any tax,
interest, or penalty is owing from the Insureds based on that taxing authority’s
disallowance of tax benefits promised by KPMG in a series of professional tax opinions
issued by KPMG to its SC2 clients. These assertions of potential taxes, interest, and
penalties have not only transpired with respect to the Insureds, but have als_o transpired
with respect to every SC2 transaction ever implemented by anyone. Despite these
undeniable realities, AIG somehow now asserts that the SC2 levies against the Insureds are
attributable -- not to the problems inherent with the SC2 strategy in general -- but to the
manner in which the Insureds implemented the strategy. The fact that no taxing authority
has ever cmade this assertion against the Insureds is of no apparent consequence to AIG as
it continues to pursue any conceivable angle to avoid honoring its coverage obligations
Likewise, the fact that both the IRS and the FTB have treated the Insureds in prosecution
and settlement of these SC2 matters in the identical manner as every other SC2 participant
has done nothing to dissuade AIG from its assertion that the Insureds’ SC2 tax losses are
attributable to the manner in which the Insureds implemented the strategy. Moreover,
despite all of these underlying realities and despite the fact that AlG’s own tax experts
acknowledged that a perfectly implemented “generic” SC2 tax strategy had no better than
a “reasonable prospect of success” if attacked by the IRS, AlG now somehow attempts to
deny coverage on the basis that the dominant cause of the loss was attributable to the
manner in which the Insureds implemented the SC2 strategy. Suffice to say, the Insureds
are of the view that AIG can come nowhere close to meeting burden of establishing that

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the “dominant cause” of the loss was attributable to the lnsured’s implementation of the
SC2 strategy. Throgs Neck Bagels, Inc. v. GA Ins. Co., 241 A.D.2d 66, 71 (1st Dept.
1998). To the contrary, even AIG’s own experts appear to concede that the dominant and
efficient cause of the loss was inherent within the generic SC2 strategy.

Notwithstanding the endless maneuverings of AIG, there is no disputing that both
the IRS and the FTB have asserted and determined that the relevant tax returns of the
Insureds and every other SC2 participant need to be amended in order to “unwind” the
SC2 transaction because the generic SC2 transaction is an “abusive tax shelter” not in
compliance with the Internal Revenue Code. The actions taken by the IRS and the FTB
are “lnsured Tax Events” as defined in the Policy. Moreover, despite the undeniable
existence of a “Claim” under the Policy [written notice from a Taxing Authority that an
lnsured “may be” liable for taxes related to an lnsured Tax Event], signs of which began
appearing as early as April 2002, AIG has even refused to recognize the existence of a
“Claim.”

After more than two years of delay, AIG finally made a coverage determination on

July 29, 2005, in a letter to the Insureds in which AIG denied the existence of any

coverage under the Policy. (See, Exhibit 31.) The denial came only after AIG spent two

years delaying a coverage determination, and in the process, asserting countless spurious
coverage defense theories in letters, emails, telephone conferences, and in-person meeting
with its Insureds. Regardless, it bears emphasizing that most of AIG’s spurious coverage
defense theories appear to have now been abandoned as even AIG could not proceed with
these arguments with a straight face. Nevertheless, there is no disputing that AIG has
attempted to conjure up and concoct one specious argument after another to avoid
honoring its obvious coverage obligations.

AIG’s denial of coverage under the Policy, and the reasons AIG has expressed for

refusing to pay the Policy benefits to the Insureds, flies in the face of the plain language in

. the Policy. Simply put, the Policy provides coverage for the exact scenario that has played

out with the IRS and the FTB, yet AIG has taken the unsupportable position that there has

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in fact been no “claim” and no “lnsured Tax Event” triggering coverage under the Policy.
Beyond these assertions, AIG then goes on to somehow attempt to establish that the
dominant and efficient cause of the loss is attributable to something other than problems
inherent within the generic SC2 Strategy. AlG’s argument cannot be supported by the
facts of this case, and as set forth below, the panel should find that AIG is liable, not only
for the full 850 million Policy amount, but also for the damages resulting from its failure to
timely pay the Policy benefits and for punitive damages for AIG’s exceedingly bad faith
denial of coverage

II. RELEVANT FACTUAL BACKGROUND.

Respondent and Counter-Claimant The Upper Deck Company (“Upper Deck”) is a
California S corporation headquartered in Carlsbad, California. Respondent and Counter-
Claimant Richard P. McWilliam is the founder and Chief Executive Officer of Upper
Deck. Mr. McWilliam is now and previously was the sole shareholder of Upper Deck and
holds 100% of his shares through Respondent and Counter-Claimant the MPR Trust, for
which Mr. McWilliam is the trustee.

In February 2001, the Insureds purchased the SC2 tax strategy from KPMG for
8575,000. In conjunction with their purchase of the SC2 tax strategy, the Insureds
purchased the Policy from AIG to protect against a scenario wherein the IRS or state
taxing authority disallowed the tax benefits of implementing the SC2 transaction. The
Insureds paid AIG a premium of 83.25 million for the Policy that provides 850 million in
insurance coverage of certain enumerated “Insured Tax Events” as defined in Endorsement
No. 1 of the Policy. (See, Exhibit 1l [Policy w/exhibits].) Put simply, the Policy serves to
protect against financial liability arising from a taxing authority (i.e., the IRS or FTB)
disallowing tax benefits resulting from the Insureds implementation of the SC2 transaction,
as well as protecting against any increased tax liability of the Insureds resulting from the

IRS revoking Upper Deck’s S Corporation status due to its participation in the tax strategy.

 

]The exhibits attached to this Opening Brief are numbered separately from the exhibits
being used at the Hearing. The exhibits rovided herewith are for the convenience of the
Panel for reference while reviewing this rief. `

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(Exhibit l [Policy], at Endorsement No. l: “Definition of Insured Tax Event”.) The Policy
provides specific coverage for any loss sustained by the Insureds based on “an assertion”
by a “Taxing Authority” that the income allocation under SC2 is improper and/or that
some action taken before August 29, 2001 in the Insureds’ implementation of SC2
somehow resulted in the creation of an unauthorized second class of stock, an assertion
that would result in Upper Deck being stripped of its S corporation status.

As it turned out, the IRS has repeatedly made each of these assertions establishing
coverage under the Policy, not only to Upper Deck , but also_` as to each and every one of
the estimated 58 SC2 participants Yet, despite the occurrence of these events, AIG still
refuses to pay or even acknowledge the Policy benefits it so clearly owes to the lnsureds.

A. SCZ: The Tax Strategy Covered By The Policy.

The SC2 transaction was created and sold by KPMG. By the time KPMG had
developed the SC2 transaction, K`PMG had created and sold numerous other mass-
produced generic tax avoidance strategies through a complex national infrastructure it had
established for the sole purpose of peddling these generic tax strategies to its clients. The
details of KPMG’s intricate infrastructure are set forth in two United States Senate
Subcommittee reports issued in late 2003 and early 2004, both of which include substantial

discussion of KPMG’s practices with respect to generating generic tax products,2

 

2ln early 2002, under the chairmanship of Senator Carl Levin, the United States Senate
Permanent Subcommittee on lnvestigations of the Committee on Governmental Affairs
(hereinafter the “Levin Committee”) began investigating abusive tax shelters develo ed,
marketed, and implemented by professional organizations such as accounting firms, anks,
investment advisors, and law firms. During the course of the Levin committee’s
investigation, the Levin committee issued no less than 25 summonses seeking information
relating to numerous tax strategies with which KPMG was involved. The subpoenas and
document requests produced over 235 boxes of documents for the Levin committee’s
review. The Levin committee also conducted len thy interviews of representatives from
major organizations involved in the tax shelter in ustry. The Levin committee’s
investigation culminated in the issuance of a 130-page re ort entitled “U.S. Tax Shelter
Industry: The Role of Accountants, Lawyers, and Financial Professionals - Four KPMG
Case Studies: FLIP, OPIS, BLIPS, and SC2” (hereinafter the “Levin Report”). A true and
correct photocopy of the Levin Report (w/o exhibits) is attached hereto as Exhibit 2.

Subse uently, on A ril 13, 2005, the Permanent Subcommittee of the Committee On
Homelandl Security an Govemmental Affairs of the United States Senate (hereinafter the
“Homeland committee”), following its own investigation into KPMG, published a further
report entitled “The Role of Professional Firms In The U.S. Tax Shelter lndustry”
(hereinafter the “Homeland Report”). The Homeland Report is based on the testimony of `

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including SC2. Suffice it to say, KPMG established and utilized several of its national
practice groups in the United States to create and develop generic, mass-marketable tax
strategies (KPMG’s Tax lnnovation Center)-to: (l) conduct tax-law compliance review of
any viable potential tax shelter products (KPMG’s Washington National Tax Practice); (2)
ensure compliance with tax shelter regulations (KPMG’s Tax Controversy Services
group); (3) and ensure compliance with KPMG’s standards for “risk management and
professional practice” (KPMG’s Department of Practice and Professionalism.” (Exhibit 3
[Homeland Report], pp. 13-15.)

After a proposed tax strategy successfully made its way through KPMG’s
infrastructure, KPMG would compile a variety of documents to implement and market the

tax strategy including: an abstract summarizing the product; an electronic PowerPoint

presentation to introduce the product to other KPMG tax professionals; and a “whitepaper”

summarizing the technical tax issues associated with the transaction and their resolution
(the “Initial Promotional Documents”). (Exhibit 3, p. 15.)

One of the specific findings of the Homeland Committee, one of two Senate
Subcommittees to investigate KPMG, was that KPMG used aggressive marketing tactics to

sell generic tax products by, among other things, using confidential client tax data to find

 

more than twenty witnesses over the course of the two-day hearings held by the Levin
committee in November 2003, over 250 boxes of documents and electronic disks, three
depositions, numerous interviews, and additional post-hearing information gathered by the
Homeland committee. A true and correct photocopy of the Homeland Report (w/o
exhibits) is attached hereto as Exhibit 3.

The Levin and Homeland Re orts provide a wealth of information relevant to the
discussion herein related to the evelopment, marketin , sale, and implementation of SC2.
Thus, these reports are cited throughout the following iscussion.

Ultimately, several of KPMG’s most prominent tax partners were indicted by a federal
grand jury and charged with conspiracy to commit fraud in connection with several KPMG
abusive tax shelters. In August 2005, KPMG entered into a Deferred Prosecution
Agreement (“DPA”) in which it admitted that it unlawfully assisted United States
taxpayers with avoiding income taxes on billions of dollars in capital gain and ordinary
income by “developing, promoting and implementing unregistered and fraudulent tax
shelters.” As part of the DPA, KPMG agreed to pay 8456 million to the United States and
to cease operating its private client tax practice, to cease its compensation and benefits tax
practice, to cease developing, marketin , sellin , or implementing an pre-packaged tax
products, cease char ing or accepting at fees or providing tax services. A true and
correct photocopy o the DPA and exhibits thereto is attached hereto as Exhibit 4.

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prospective customers to whom KPMG could market, and using tax opinion letters3 and
insurance policies as marketing tools. (Exhibit 3, p. 6.) In some cases, KPMG informed
reluctant prospective purchasers that insurance companies (including AIG) were willing to
issue a tax insurance policy protecting against the disallowance of the tax benefits
associated with a particular tax strategy. (Exhibit 3, pp. 6, 41 , 46.) Advice of the
availability of these insurance policies was used as necessary further assurances to
reluctant clients that the tax strategy was sufficiently sound that reputable insurance
companies were willing to issue policies to insure against an IRS challenge (Exhibit 2,
[Levin Report], p. 57.)

SC2 was the last of the abusive tax shelters sold and implemented-by KPMG. lt
was also one of KPMG’s most successful -- as measured by KPMG’s revenues -- tax
strategy products. In fact, SC2 was one of KPMG’s top ten revenue producers in 2000 and
2001, generating in excess of 826 million in revenues in an lS-month stretch of time.
Designed specifically for S corporations, SC2 called for the sole shareholder of the S
corporation to donate 90% of S corporation shares (in the form of non-voting shares) to a
non-profit charitable organization for a period of time, during which only 10% of the S
corporation’s income would be allocated to the original sole shareholder while the
remaining 90% would be allocated to the charitable organization, who of course would be
exempt from paying tax on the income that is allocated to the charitable organization.
However, under the SC2 strategy, little, if any, of the allocated income is actually
distributed during the time in which the charitable organization is a shareholder. At some
future date before the accumulated earnings are distributed to the shareholders, the shares
are purchased back from the charitable organization, providing in some cases for
significant purchase monies to the charitable organization and potentially saving the

remaining, non-exempt, shareholders a significant amount of money in federal and state

 

3As defined by KPMG, a “tax opinion” is a written instrument that ex lains the “tax
consequences of a particular issue, transaction or series of transactions o the client and
that is furnished to the client or another party in a letter, a whitepaper, a memorandum, an
electronic or facsimile communication, or other form.” (Exhibit 3, p. 16.)

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tax “savings.”

Given the basic structure of an SC2 transaction, KPMG targeted wealthy
individuals who owned 100% of an S corporation earning substantial net income (i.e. in
the millions). (Exhibit 3, p. 10.) As the Homeland Report found, KPMG mass-marketed
SC2 to “persons who appeared to have little interest in them or did not. understand what
they were being sold, and likely would not have used them to reduce their taxes without
being approached by KPMG” (Exhibit 3, p. 33) _ people like Mr. McWilliam. KPMG
informed potential purchasers that it would walk them through the SC2 deal, assisting in
the preparation of all of the deal documents, monitoring the passage of corporate
resolutions, the issuance of shares, and the donation of shares to a charitable organization -
- whose participation had already been solicited and arranged by KPMG. (Exhibit 3, p.
30.)

1. The Typical SC2 Transaction.
Appendix B of the Levin Report sets forth the following basic conceptual summary

of a typical SC2 transaction:

1) The Income. Individual owns 100% of S-corporation which
earns net income (e.g., 83 million annually).

2) The Sales Pitch. Individual is approached by KPMG with a
“charitable donation strategy” to shelter a significant portion
(often 90%) of the S-corporation’s income from taxation by
“allocating,” with little or no distribution, the income to a
charitable organization Individual is told that, for a fee,
KPMG will arrange a temporary “donation” of corporate non-
voting stock to the charity and will rovide an opinion letter
stating it is “more likely than not” t at nonpayment of tax on
the income “allocated” to the charity while it “owns” the stock
will withstand an IRS challenge, even if the allocated income is
not actually distributed to the charity and the individual regains
control of the income. The individual is told he can also take a
personal tax deduction for the “donation.”

3) Setting U The Transaction. The S-corporation issues
non-voting s ares of stock that, typically, equal 9 times the
total number of outstanding shares (e.g., corporation with 100
voting shares issues 900 non-voting shares). Corporation gives
the non-voting shares to the existin individual-shareholder.
Corporation also issues to the individual-shareholder warrants
to purchase a substantial number of company shares (e.g.,
7,000 warrants). Corporation issues a resolution limiting or

 

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suspending income distributions to all shareholders for a
specified period of time (e.g., generally the period of time in
which the charity is intended to be a shareholder, typically 2 or
3 years). Prior to issuing this resolution, corporation may
distribute cash to the existing individual-shareholder.

4) The Charity. A “qualifyin ” charity (one which is exempt
from federal tax on unrelated usiness income) agrees to accept
S-co oration stock donation. KPMG actively seeks out

quali ied charities and identifies them for the individual.

5) The “Donation.” S-corporation employs an independent
valuation firm to analyze and provide a valuation of its non-
voting shares. Due to the non-voting character of the shares
and the existence of a large number of warrants, the non-voting
shares have a very low fair market value (e.g., 8100,000).
Individual “donates” non-voting shares to the selected charity,
making the charity the temporary owner of 90% of the
corporation’s shares. lndividual claims a charitable deduction
for this “donation.”‘ At the same time, the corporation and
charity enter into a redem tion agreement allowing the charity,
after a specified period o time (generally 2 or 3 years), to

re uire the co oration to bu back the shares at fair market
va ue. The inifividual also p edges to donate an additional
amount to the charity to ensure 1t obtains the shares’ original
fair market value in the event that the shares’ value decreases.
The charity does not receive any cash payment at this time,

6) The “Allocation.” During the period in which the charity
owns the non-voting shares, the S-corporation “allocates” its
annual net income to the charity and original individual-
shareholder in proportion to the percentage of overall shares
each holds (e.g.,_ 90:10 ratio). However, pursuant to the
corporate resolution adopted before the non-voting shares were
issued and donated to the charity, little or no income
“allocated” to the charity is actually distributed The
corporation retains or reinvests the non-distributed in-come.

7) The Redemption. After the s ecified eriod in the
redemption agreement, the charity se ls back t e non-voting
shares to the S-corporation for fa1r market value (e.g.,
8100,000). The charity obtains a cash payment from the
corporation for the shares at this time. Should the charity not
resell the stock, the individual-shareholder can exercise the
warrants, obtain additional corporate shares, and substantially
dilute the value of the charity’s shares. Once the non-voting
shares are repurchased by the corporation, the corporation
distributes to the individual-shareholder, who now owns 100%
of the corporation’s outstanding shares, all of the undistributed
cash from previously earned income.

8) Taxpayer’s Claim. Due to its tax exempt status, the charity
pays no tax on the corporate income “allocated” or distributed
to it. According to the KPMG opinion letter, for tax purposes,
the individual can claim a charitable deduction for the
“donated” shares in the year in which the “donation” took

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place. During the years in which the charity “owned” most of
the corporate shares, individual will pay taxes on only that
ortion of the corporate income that was “allocated” to him or

lier. KPMG also advised that all in-come “allocated” to the
charity is then treated as previously taxed, even after the
corporation buys back the non-voting stock and the individual
regains control of the corporation. KPMG also advised the
individual that, when the reviousl “allocated” income was
later distributed to the in ividual, t e individual could treat
some or all as long-term capital gains rather than ordinary
income, tax-able at the lower capital gains rate. The end result
is that the individual owner of the S-corporation was told by
KPMG that he or she could defer and reduce the rate of the
taxes paid on income earned by the S-corporation.

(Exhibit 2, Appendix B.)
2. Upper Deck And SCZ.

'Utilizing the same tax strategy development infrastructure and sales force
established to market its previous and likewise ill fated tax products, KPMG began
marketing the generic SC2 strategy in April 2000. Shortly thereafter, in the summer of
2000, KPMG approached Mr. McWilliam and Upper Deck in an attempt to solicit their
business as an SC2 participant

Dating back to the early 1990s, KPMG provided various and extensive accounting
services for McWilliam, Upper Deck, and the MPR Trust. The services provided ranged
from providing tax advice, to preparing and reviewing tax returns, to performing auditing
services. Thus, by the time KPMG approached McWilliam and Upper Deck in 2000 with
the SC2 transaction, KPMG was intimately familiar with Upper Deck’s corporate
structure, and with McWilliam and the MPR Trust. Based on this information, the
accountant in Southern California who had been Upper Deck’s primary contact at KPMG,
Redge Benheim, began aggressively pursuing McWilliam and Upper Deck as a potential
sc2cnmn.'

A meeting attended by Mr. Bendheim, Lawrence Manth (KPMG partner), Mr.
McWilliam, and Steve Farno (then CFO of Upper Deck) took place in the summer of 2000
at Upper Deck’s Carlsbad, California headquarters in which KPMG began the hard sell of

SC2 to Mr. McWilliam. During the meeting, Mr. Bendheim and Mr. Manth explained that

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SC2 was specifically developed by KPMG to benefit shareholders of S corporations like
Upper Deck. He explained that the transaction could be implemented to save Mr.
McWilliam money on his taxes while allowing him to make a generous donation to a non-
profit charitable organization He also told McWilliam the strategy had been reviewed by
senior KPMG professionals, was determined by those professionals to be in compliance
with all applicable tax laws, and that KPMG’s national office in Washington D.C. had
approved the SC2 transaction During the meeting, Mr. Manth also told Mr. McWilliam
that KPMG would issue opinion letters backing the legitimacy of the transaction

Following this initial meeting, Mr. McWilliam was very hesitant and declined to
utilize the SC2 strategy. However, over the following several months, KPMG began
implementing its pressure marketing tactics. As described above, and as mentioned in
both Levin and Homeland Reports4, one of the commonly used pressure sales tactics5 used
by KPMG was to inform a prospective purchaser that there were at least two maj or
insurance carriers who were willing to issue a tax insurance policy to insure the benefits
associated with SC2. This representation was in fact made to McWilliam and Upper Deck
during the period in which KPMG was hard selling Mr. McWilliam’s participation in the 4
SC2 transaction Based in significant part on the availability and protection of insurance
aimed expressly at providing coverage in the event of “an assertion” by a taxing authority
that the SC2 strategy was improper, Mr. McWilliam decided to purchase the SC2
transaction from KPMG. Thus, on or about February 8, 2001, Upper Deck purchased the
SC2 transaction from KPMG for the price of 8575,000. (Exhibit 5, [KPMG Engagement
letter]'.) Likewise, the Insureds purchased the Policy from AIG in exchange for a 83.25
million insurance premium.

The February 8,`2001 engagement letter, memorializing the agreement with KPMG,

identifies the scope of services KPMG would perform in connection with the

 

4The Levin Committee found that KPMG possessed sample insurance policies that it
would share with potential SC2 clients. (See, Exhibit 2, p. 57.)

KPMG utilized other strong-arm sales tactics with Mr. McWilliam and Up er Deck
including misrepresenting that sales of SC2 would be limited and time was of the essence

before KPMG would halt sales of the transaction
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implementation of SC2. (See, Exhibit 6.) The scope of services KPMG agreed to provide
included tasks necessary to the implementation of SC2 such as assisting in locating and
contacting an appropriate tax exempt organization to receive the stock gift, providing
analysis of the projected income and gift tax consequences as a result of implementing
SC2, and representing Mr. McWilliam and Upper Deck through IRS appellate conference
with respect to any challenge by the IRS with regard to the tax services provided pursuant
to the engagement letter agreement

Because McWilliam was the sole shareholder of Upper Deck,`and because he held
those shares through the MPR Trust, KPMG advised that the following steps would be
necessary to implement SC2 for Upper Deck:

0 Passing Board Resolutions approving the transaction, the issuance of
warrants to the MPR Trust, and the issuance of the non-voting stock;

0 Amending Upper Deck’s Articles of Incorporation to allow for the issuance
of warrants to the MPR Trust, and to permit the issuance of the non-voting
stock; l

v Obtaining a formal valuation of Upper Deck’s stock;

0 Executing a shareholder agreement between Upper Deck, the MPR Trust,
and the chosen tax exempt organization; and

0 Executing a warrant agreement issuing warrants to the MPR Trust.

As of March 28, 2001, Upper Deck had 920,000 shares of stock outstanding, all of
which were owned by the MPR Trust, an inter vivos revocable trust with Mr. McWilliam
as its sole beneficiary. On the advice of KPMG,-Upper Deck amended its Articles of
Incorporation on March 28, 2001 to permit the issuance of 8,280,000 shares of Non-Voting
Common Stock in Upper Deck. Also on March 28, 2001, and also on the advice of
KPMG, Upper Deck declared a dividend of 82,800,000 warrants to purchase Non-Voting
Common Stock of Upper Deck to the MPR Trust in proportion to the MPR Trusts’
ownership of the Voting Common Stock.

On March 29, 2001, the above-described dividend was issued to the MPR Trust.

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Also, on March 29, 2001, Upper Deck distributed the 8,280,000 shares of Non-Voting
Stock to the MPR Trust. Two days later, on March 31, 2001, the MPR Trust donated all of
the Non-Voting Common Stock to the Austin Firefighters Relief and Retirement Fund (the
“Austin Firefighters”), a tax-exempt charitable organization who had been selected by
KPMG to participate in the SC2 transaction with Upper Deck and with at least four other
SC2 participants (Exhibit 2 [Levin Report], p. 89.) Except as to voting rights, the only
difference between the Voting Common Stock and the Non-Voting Common Stock was
that the latter was subject to a contractual right of first refusal, in which Upper Deck had
the right to purchase outstanding Non-Voting Common Stock for the amount of any bona
fide offer received by any holder of the Non-Voting Common Stock. If Upper Deck did
not exercise the first right of refusal, such right would then become available to the then
owner of the Voting Common Stock.6

Also, on March 31, 2001, the MPR Trust entered into a shareholders agreement
with the Austin Firefighters providing that all Non-Voting Common Stock would be
subject to the first right of refusal. As part of the Shareholders’ Agreement, Upper Deck
and the Austin Firefighters entered into what is generally referred to as a “redemption
agreement.” Under the redemption agreement the'Austin Firefighters was permitted to
present the Non-Voting Common Stock for redemption by Upper Deck, beginning April 1,
2003, The redemption agreement was executed in order to guarantee an assured manner
for the Austin Firefighters Fund to sell its stock.

In conjunction with carrying out the necessary steps to implement SC2, Fair Market
Value, lnc. (“FMV”) undertook to determine the value of shares in Upper Deck. ln doing
so, FMV collected substantial information from Upper Deck, including past and present

financial records, performance records, and projections for future performance of the

 

6As the single class of stock issue was critical to U per Deck’s S corporation status, the
limited differences between the Voting Common Stole and Non-Voting Common Stock
was very important As explained in one of KPMG’s three opinion letters to McWilliam
and Upfper Deck, under the Internal Revenue Code, buy-sell agreements (such as the first
ri ht okrefusal) are generally ignored in determining whether there is more than one class
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company. With respect to the warrants issued to the MPR Trust on March 29, 2001, FMV
determined that the exercise price of each warrant (80.148 per share) was equal to at least
ninety percent of the fair market value of the underlying stock as of March 29, 2001 .7 ln
connection with this determination FMV issued a document dated March 31, 2001,
entitled “The Upper Deck Company: Valuation of Voting Common Stock and Non-Voting
Common Stock As of March 31, 2001” which was attached to the Policy as Exhibit E.
Thus, by March 31, 2001, Mr. McWilliam and Upper Deck had completed all the '
necessary steps to implement SC2.8 However, within approximately one year, in April
2002, the IRS was already moving quickly to set aside the SC2 transactions through the
issuance of summonses and document requests to investigate KPMG’s abusive tax shelter
practices and requiring KPMG to reveal the identity of a_ll of its clients using a variety of
tax strategies, including all SC2 participants The IRS then specifically sought out each
SC2 participant’s cooperation in the investigation into SC2 through its Announcement
2002-2, a voluntary disclosure initiative released in April 2002, Thus, by this time, the
IRS was clearly focusing in on SC2 and taking strides towards an eventual determination
that the tax strategy was in fact an abusive tax shelter. In fact, several of KPMG’s tax
strategies were undergoing rigorous IRS scrutiny at this time as the Levin committee was
launching a comprehensive investigation into the fraudulent tax shelters, including SC2,
which KPMG had been marketing in the preceding 2 years (See, generally, Exhibit 2.)
Against the backdrop of this ongoing IRS and Senate investigation into SC2, Upper
Deck offered in November 2002 to reacquire the Austin Firefighters’ shares This buyback
transaction was initiated only after the IRS had began moving against SC2 participants

There was nothing improper with the sale as Section 1 of the Shareholder’s Agreement

 

7Thesignificance of this determination was to ensure Upper Deck’s compliance with
Internal Revenue Code, section 1.1361(1)(4)(iii), which states that warrants will not be
classified as a second class of stock if the strike price of the warrants is at least 90% of the
fair market value of the underlying stock on the date they are issued.

Each of the relevant documents reflecting the actions taken by Up er Deck and the
MPR Trust over the three-day period at the end of March 2001 (inclu ing the warrant
agreement the Shareholders’ Agreement, and FMV’s valuation of the Non-Voting
Common Stock) to implement SC2 are attached to the Policy as Exhibits C, D & E. (See,

Exhibit 1.)
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specifically permitted the Austin Firefighter’s to “transfer, assign pledge or . . . alienate”
the shares without conforming with Sections 2, 3 or 5 of the Shareholder’s Agreement
with “the prior written consent of the Company [Upper Deck] and the other Shareholder(s)
of the Company [the MPR Trust].” (Exhibit 1 [Policy, Ex. C].) The buyback was thus
consummated and resulted in a Share Purchase Agreement dated December 10, 2002 by
which Upper Deck purchased all of Austin Firefighters’ shares for the purchase price of
82,000,000 with the consent of the MPR Trust. (See, Exhibit 6.) l

B. The Insureds’ Tax Benefit Resulting From SC2.

As indicated, the Insureds’ implementation of the SC2 tax strategy commenced on
March 31, 2001 with the gifting of the non-voting stock to the Austin Firefighters`. The
transaction was in effect until December 31, 2002 when the Austin Firefighters sold all of
its stock back to the Insureds Thus, the Insureds’ original tax returns (both state and
federal) for 2001 (March 31 through December 31 only) and 2002 reflected the Austin
Firefighters’ ownership interest in Upper Deck and reported the lnsureds’ income and tax
liability consistent therewith.

ln his original federal tax return, Mr. McWilliam, filing jointly with his wife,
reported only 10% of Upper Deck’s income attributable to the MPR Trust and paid the
corresponding federal income taxes for the nine-month period from March 31, 2001
through December 31, 2001. And for the year ending December 31, 2002, Mr.
McWilliam, this time married filing separately and again reporting only 10% of Upper
Deck’s income, paid the corresponding federal income taxes owed. Based on the IRS’
latest calculations it has determined that if Upper Deck had not implemented the SC2 tax
strategy, Mr. McWilliam’s federal tax liability would be increased by 814,085,520.00 for
the 2001 tax year, and an additional 852,691,914.00, totaling over 866 million dollars in
back-taxes owed by Mr. McWilliam. (See, Exhibit 7 [Forms 870].)

Mr. McWilliam’s` 2001 and 2002 California state tax returns similarly reflected only
the MPR Trust’s 10% interest in Upper Deck and accordingly Mr. McWilliam reported the

corresponding income allocation and paid the state taxes associated with the 2001 (March

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1 31 through December 31) and 2002 respectively. The California FTB later determined that

l\/lr. McWilliam had underpaid his taxes (based on SC2) by approximately 817 million
Thus, in terms of tax liabilities alone, SC2 “saved” Mr. McWilliam over 883
million less transaction costs
` C. The Policy.
ln conjunction with purchasing SC2 from KPMG and based on KPMG’s

Policy to protect against the potential tax liability that would arise in the event a “Taxing

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Authority” made an assertion that SC2 is improper. Effective August 29, 2001, AIG
10 issued to the Insureds a 850 million Policy insuring against the risk of a Loss resulting
l l from a Taxing Authority asserting that the tax treatment laid out in the opinions issued by
12 KPMG to the Insureds was incorrect For the 850 million in SC2 coverage, the Insureds
13 paid AIG a significant premium of 83,250,000.9 (See, Exhibit l.)

14 The “Policy Period” commenced August 29, 2001, and ends the later of (1)

15 November 30, 2006, or (2) the “expiration of the applicable statute of limitations with
16 respect to tax items described in the Insured Tax Event relating to the transactions

17 described in the KPMG LLP opinions,” but no later than November 30, 2010. (See,

18 Exhibit 1 [Policy], Declaration Item 3.) The Upper Deck Company, a California

recommendation and encouragement the Insureds purchased AlG’s Fiscal Event lnsurance

19 corporation is the “Named Insured” on the Policy; however, “Additional Insureds” include

20 the MPR Trust, Mr. Richard McWilliam, and any other person to which coverage was

21 extended pursuant to the terms of the Policy. (Exhibit l [Policy], Declarations, Items l(a)-

22 (b).)
_23 Generally, and as will be discussed in detail below, the Policy provided for AIG to
24

 

9 The Policy also provides for a 8500,000 “Retention” An issue that will arise during
25 the hearing but is not briefed extensively here is whether the attorneys’ fees, costs, and
other fees (which collectively are very large in amount) incurred in responding to the IRS’
26 inquiry into the validity of the Insureds’ application of SC2 ualify as incurred “Contest
Expenses” under the Policy in satisfying t e 8500,000 retention and otherwise qualify as
27 Loss under the Policy. However, the magnitude of the Tax Loss with the federal
government alone (not countin the extra dollars owed to the State of Califomia) would
28 appear to make these additiona “Contest Expenses” far from the significant for the
purpose of calculating benefits due under the Poli

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pay the Policy benefits to the Insureds in the event a Taxing Authority (i.e. the IRS or
California FTB) asserted positions contrary to those expressed in KPMG’s tax opinions
provided to the Insureds, and those assertions resulted in the Insureds incurring additional
federal and/or state tax exposure, interests and/or penalties

D. . T he IRS and California FTB Attack The Validity Of SC2.

As indicated, it didn’t take long for the “Taxing -Authorities” to launch their assault
on the validity of SC2. As early as April 2002, the IRS compelled KPMG to reveal the
identity of al_l of its clients that it knew to be using a variety of tax strategies then under
IRS scrutiny, including all SC2 participants KPMG informed Upper Deck and 'AIG that
when KPMG disclosed Upper Deck’s identity to the IRS an examination of Insureds tax
returns would likely ensue. (Exhibit 8.) This information was promptly passed on to AIG
by the Insureds (Exhibit 9) and also provided directly to AIG by KPMG.

At around the same time, the IRS issued Announcement 2002-2, a voluntary
disclosure initiative, seeking the voluntary cooperation and participation of each SC2
participant (Exhibit 10 [Announcement 2002-2.) The initiative essentially provided SC2
participants a waiver of penalties in exchange for cooperating with the IRS’ investigation
into the SC2 transaction, Accordingly, after notifying AIG and with virtual urging by AIG
to do so, the Insureds made a voluntary disclosure of the transaction to the IRS on April
22, 2002. (Exhibit 11 [Insureds’ disclosure to the IRS].) This allowed the Insureds and
AIG to avoid liability for any penalties associated with any future tax deficiencies to be
assessed by the lRS.

Coricurrent with the IRS’ investigation into SC2, the Levin Committee was
conducting its detailed investigation into KPMG’s extensive tax shelter practice. That
investigation resulted in many detailed and, quite frankly, shocking findings related to
KPMG’s conduct and its apparent disregard for the fundamental flaws in the SC2 tax
strategy. The Levin Report, published in November 2003, revealed that even KPMG tax

professionals considered SC2 a risky tax strategy, one that would attract a vigorous and “at

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least partially successful” challenge if the IRS ever caught wind of it. (Exhibit 2, p. 44.)10
And the Levin Report also identified AIG as one of the insurance companies associated
with KPMG and offering SC2 tax insurance policies to help market and sell the SC2
product to KPMG clients. (Exhibit 2, p. 57.) The Levin Report’s findings included
determinations that KPMG aligned itself with other professional organizations (like AIG)
to promote, sell, and implement abusive and illegal tax shelters including SC2. (Id. at p.
4.) x

In April 2004, the IRS issued Notice 2004-30 which further confirmed that the lRS
considered a_l_l SC2 transactions to be “abusive tax shelter[s].”]l (Exhibit 12 [Notice 2004-
30].) -With respect to all of its assertions, Notice 2004-30 states the “Service and the
Treasury Department recognize that some taxpayers may have filed tax returns taking the
position they were entitled to the purported tax benefits of the type of transaction described
in this notice. Those taxpayers should take`appropriate corrective action and ensure that
their transactions are disclosed properly.” Notice 2004-30 also “alerts taxpayers and their
representatives that these transactions are tax avoidance transactions.” Notice 2004-30
further provides that the “Service intends to challenge the purported tax benefits from this
transaction.”

Following publication ofNotice 2004-30 on April 16, 2004, on August 5, 2004 the

IRS sent Upper Deck and its counsel “three IDR [lnformation Document Request] Forms

 

10 This candid opinion by KPMG’s knowledgeable rofessionals, which was never
published to the Insureds or other SC2 participants, rther evidences the truth of the
Insureds designated tax expert Stephen Mather conclusion that “there was never a
substantial likelihood that the SC2 transaction as structured would withstand attack by the
IRS.” (Stephen R. Mather’s Supplemental Report dated August 16, 2006.) SC2
participants’ (and AIG’s) only hope to avoid liability to the IRS (or to an Insured) was to
escape the attention of the lRS because if the SC2 strategy was challenged by the IRS the
IRS would be successful. Only in the context of this proceeding do AIG’s designated
experts acknowledge that “courts could be expected to take a critical view of the
transaction” the participants would “still have a reasonable prospect of success
notwithstanding the likelihood of such a negative bias by the courts.” (Robert D. Burk
Replort, August 16, 2006 p. 9.)

While the term “abusive tax shelter” encompasses a wide variety of illegal or
potentially illegal tax evasion schemes, the General Accounting Office (GAO) has
summarized the term to refer to “very complicated transactions promoted to corporations
and wealthy individuals to exploit tax loopholes and provide large, unintended tax

benefits.” (Exhibit 2 [Levin Report], p. 18.) EXHEBBT /1/ PAG§ gg[p

 

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4564, numbered S608B2, S608C, S701A” (the “August 2004 IDRs”). (Exhibit 13.) C)ne
of the August 2004 IDRs, request S608B2, specified that the “Internal Revenue Service
has identified certain transactions as ‘listed transactions’ for the purposes of

§ 1.601104(b)(2) of the Income Tax Regulations. The IRS considers transactions that are
the same as or substantially similar to listed transactions to be tax avoidance transactions.”
Among the “listedltransactions” identified in IDR No. S608B2 were those described in
“Notice 2004-30, 2004-17 I.R.B. -- S Corporation Tax Shelter,” which are discussed
above. (Exhibit 13.) Request S608B2 identifies its purpose as “to determine whether The
Upper Deck Company has directly or indirectly participated in transactions that are the
same as or substantially similar to any listed transaction,” including Notice 2004-30.
(Exhibit 13.) Again, it is evident from these Notices and IDRs that the IRS was attacking
all SC2 and similar transactions Moreover, despite the passage of several years since the
IRS began investigating and attacking all SC2 and similar transactions, the IRS has never
asserted or suggested that the Insureds did anything unique in their implementation of the
SC2 strategy which prompted or impacted its investigation or analysis in any way.
Regardless, the Insureds, with the assent of AIG, provided responses to the IRS’ August 5,
2004 IDRs over the course of several transmissions to the IRS in October, November, and
December 2004.

In correspondence dated August 6, 2004, addressed to counsel for Upper Deck,
stating it pertained to “examination of Upper Deck Co., Notice 2004-30 transactions,” the
IRS advised that the it “ha[d] begun an examination of the tax returns indicated above
[retums of Upper Deck Co.] with respect to transactions described in Notice 2004-30[.] . . .
See Notice 2004-30 for the government’s position. The aforementioned examination is
proceeding and must still be concluded.” (Exhibit 14.)

Then, on November 8, 2004, the IRS issued a Coordinated Issue Paper outlining the
reasons the IRS believed that all SC2 transactions were not entitled to be respected for tax
purposes and instructing its agents on how to proceed with attacking each and every SC2

transaction as improper and illegal. (Exhibit 20 [CIP].) The Coordinated Issue Paper

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began as follows:

On April 1, 2004, the lnternal Revenue Service issued Notice
2004-30, 2004-17 l.R.B. 828, announcing that the Service will
challenge transactions in which S corporation shareholders
attempt to transfer the incidence of taxation on S corporation
income by purportedly donating S corporation nonvoting stock
to an exempt organization while retaining the economic
benefits associated with that stock. The purpose of this
coordinated issue paper is to discuss the grounds for taxing the
proper taxpayers on the income from the corporation’s

usiness and disallowing deduction the taxpayers improperly
claim as a result of participating in Notice 2004-30
transactions

Similar to the IRS’ approach, the California FTB made an independent investigation
into SC2 and notified _al_l of SC2 participants that they must amend their effected tax
returns to reflect allocation of all S corporation income to the pre-gift shareholder. ln
March of 2004 the FTB offered a voluntary compliance initiative program (“VCI
’Program”) through which any California tax payer who implemented one of these tax
shelters could avoid certain penalties if they voluntarily came forward prior to April 15,
2004. The Insureds received two notices from the FTB regarding the availability of the
VCI program. (Exhibit 16.)

E. With AIG’s Consent, The Insureds Agree To Settle With The IRS And

The FTB.

By the time the Insureds were faced with the decision of whether to settle or litigate
with the IRS over the suspect SC2 tax strategy, the climate surrounding the tax shelter
industry and SC2 in particular was ripe for an aggressive and successful attack on the
Insureds by the IRS. KPMG had already undergone extensive Congressional investigation
and had been sued at least once by the Justice Department (on behalf of the IRS) for
refusing to turn over tax shelter-related documents. The Levin and Homeland Reports had
been released, which reports lambasted KPMG for its development and promotion of SC2
and other abusive tax shelters.. The reports also unveiled several internal communications

at KPMG between tax professionals who were expressing grave concerns over the validity

of the SC2 transaction Moreover, the Justice Department was investigating KPMG’s tax

 

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shelter practices, which would ultimately lead to KPMG narrowly avoiding an indictment -
- only because KPMG agreed to pay 8456 million in restitution and fines to the United
States Government and to cease operating its tax shelter practice along with ceasing all
development and sale of all generic, pre-packaged tax products like SC2. (Exhibit 4.)

Cognizant of the assault KPMG and its partners were undergoing at the hands of
federal prosecutors and Senate investigators, facing increasing investigation of its own
financials through an invasive lRS audit, and further apprised of the very real threat that
challenging the IRS and losing with respect to the validity of SC2 could result in a near
doubling of the Insureds’ loss due to the potential loss of Upper Deck’s S status, the
Insureds obtained AIG’s and agreed to participate in settlement offers with both the IRS
and the FTB.

1. _ Settlement With The IRS.

The IRS has stated publicly that it regards the SC2 transaction as an abusive tax
shelter. According to the IRS, 100% of the S corporation income should be allocated to
the pre-gift shareholder, rather than the 90% allocation of income to the charitable
organization under the SC2 transaction, Moreover, the IRS has stated that it may
challenge a corporation’s S status based on assertions that the SC2 transaction resulted in
an unauthorized second-class of stock, disqualifying the corporation from S status.
Revocation of S corporation status would result in double-taxation of all income reported
by the S corporation from the moment the IRS identifies that the second class of stock was
created.

By letter dated April 7, 2005, the IRS proposed a settlement to each and every SC2
participant which would effectively unwind the SC2 transaction and tax the S corporation
pre-gift shareholder as if it was always the sole shareholder of the S corporation. (Exhibit
17.) The IRS’ use of a generic settlement procedure for all SC2 participants is
characteristic of the IRS’ handling of taxpayers who use abusive tax shelters. (See, Expert
Report of Steven R. Mather, pp. 26-28 [IRS standard practice is to offer identical b

settlement proposals to all users of similar abusive tax shelters].)

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On May 3, 2005, with AIG’s written consent, the Insureds notified the lRS that they
had agreed to proceed with the IRS’ generic settlement proposal. (Exhibit 18.) To date.
no closing agreement finalizing the settlement has been executed between the Insureds and
the IRS. However, as of September 1, 2006, final draft of the proposed Closing
Agreements were provided to the Insureds by the IRS. (Exhibit 19.) Pursuant to the terms
of the Closing Agreements, the MPR Trust will be the sole owner of 100% of Upper Deck
for the entire taxable years 2001 and 2002, In federal taxes alone (i.e. not including
interest on the deficiencies, which applies from the date of the return’s original due date),
the Insureds will have to pay over 866 million in back-taxes for the 2001 and 2002 tax
years under the settlement with the IRS. With interest, the settlement amount will likely
exceed 880 million.

Most significantly, the deal preserves Upper Deck’s S Corporation status and spares
the Insureds the cost, inconvenience, intrusion, and potential loss of an additional 870 plus
million ifthe Insureds were to litigate and lose the IRS claims pertaining to the invalidity
of the SC2 strategy. s

2. Settlement With The FTB.

Pursuant to the VCI program instituted by the FTB, the Insureds opted to file
amended tax returns restating the applicable allocation of Upper Deck income to reflect
100% allocation to the MPR Trust. With AIG’s written consent, the Insureds filed
amended returns for the tax years 2001 and 2002 and paid the resulting taxes and interest
under the VCI program. For 2001, Mr. McWilliam paid back taxes and interest to the FTB
in the amount of 83,760,452. For 2002, Mr. McWilliam paid back taxes and interest to the
FTB in the amount of 813,3 14,610, Thus, in state taxes alone, Mr. McWilliam has already
paid over 817 million in taxes and interest due to the FTB’s assertion that SC2 was
improper and the tax benefits received by the Insureds thereunder were void.

The Insureds participated in the VCI program under an option that preserved their appeal
rights. Under California law, however, the FTB will follow final federal determinations
California Revenue and Tax Code sections 18622, 19059 and 19060. Therefore, final

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consummation of the settlement with the IRS will effectively terminate Insureds' appeal rights and

the Insureds will not be entitled to any refund of the amounts paid to the FTB.

III. THE INSUREDS’ 850 MILLION POLICY PROVIDES COVERAGE FOR
THE LOSSES SUSTAINED AS A RESULT OF THE IRS’ AND FTB’S
ASSERTIONS THAT THE INSUREDS IMPROPERLY REPORTED THEIR
TAX LIABILITY BASED ON SC2.

A. The Policy’s Insuring And Coverage Language.

The Policy’s insuring clause as set forth in Section 1 of the Policy (“INSURING
AGREEMENT”) states the following:

The Insurer [AIG] shall pay, subject to the applicable
Retention (as defined herein) and other terms and conditions of
this Policy; the Loss of the Insureds arising from a Claim first
made against any Insured during the Policy Period [August 29,
2001 to at least November 30, 2006] and reported to the
Insurer pursuant to the terms of this Policy. The Insurer shall,
in accordance with and subject to Clause 7 hereof, advance
Contest Expenses of such Claim excess of the Retention prior
to its Final Determination.”

` B. A “Claim” Exists Under The Policy.

According to the insuring clause of the Policy, the first triggering event for
coverage under the Policy is the occurrence of a “Claim,” which the Policy defines as “M
written notice from any Taxing Authority alleging any Insured may be liable for Taxes, but
only if such Taxes are directly related in whole or in part to the Insured Tax Event.”
(Exhibit 1 [PoliCy], Scction 2 “Definitions,” (a) [emphasisadded].) While it would not
acknowledge as much to the Insureds, internally AIG recognizes this was a foregone
conclusion after the IRS demanded the identities of SC2 participants from KPMG in April
of 2002. An April 29, 2002 e-mail at AIG stated:

We’ll likely need to create M & A claims files for each of the 4 insureds
since we know at least 2 have made voluntary disclosure to the IRS following

KPMG’s response to the subpena. That will no doubt trigger defense costs.
(Exhibit 32.)

 

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While it does not appear that AIG is still disputing in this Arbitration the existence
of a “Claim,” AIG has heretofore repeatedly taken the position that no “Claim” existed
despite the numerous instances in which the IRS put in writing that the Insureds were
going to be liable for taxes, interest, and possibly penalties for its use of the SC2
transaction, Despite the fact that the absolute latest that a claim was made by the IRS was
April 26, 2004, when the IRS released its Notice 2004-30 indicating that the SC2
transactions would be challenged by the IRS, AIG continued to take the position in its
coverage letters and emails as late as May 4, 2005 that no claim even existed. (Exhibit 21
[email from Cotter re AIG’s coverage positions].)

The IRS’ publication ofNotice 2004-30 in Internal Revenue Bulletin 2004-17 is
without question a “Claim” within the meaning of the Policy. As set forth in detail above,
Notice 2004-30 unequivocally denounced the validity of the SC2 tax strategy and alerted
all SC2 participants that SC2-styled transactions would be challenged by the IRS. Notice
2004-30 further cautioned all SC2 users to take “correction action” to properly disclose
their use of the strategy. The Notice clearly constitutes a “Claim” as defined by the Policy.

Furthermore, the IDRs that the IRS sent Upper Deck in August 2004 informed the
Insureds specifically that SC2 had been identified as a “listed transaction” and was
considered a tax avoidance transaction by the IRS. (Exhibit 13.) The IDRs sought
information from the Insureds regarding their implementation of the SC2 strategy. On
August 6, 2004, the day after the IDRs were sent to the Insureds, the IRS sent a letter to the
Insureds regarding the “examination of Upper Deck Co., Notice 2004-30 transactions.”
(Exhibit 14.) In the letter, the IRS informed the Insureds that the IRS had begun an
examination of Upper Decks’ tax returns due to the Insureds’ participation in the SC2
transaction, This again, is clearly a “Claim” under the Policy. AIG, of course, was
continuing to maintain at the time that no “Claim” yet existed.

Next followed the Coordinated Issue Paper, which the IRS released and sent to all
SC2 participants in November 2004. (Exhibit 20.) The publication not only explained the -
bases for the IRS’ assertion that SC2 was an illegal tax shelter, it outlined the precise (and

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uniform) manner in which IRS agents were expected to challenge each and every use of
the SC2 strategy. Even this lengthy written statement from the IRS was insufficient to
budge AIG from its position that no “Clairn” yet existed under the Policy.

Then, on April 7, 2005, in a letter to Insureds’ counsel regarding a proposal to
resolve the issues presented in Notice 2004-30, the lRS proposed a settlement with the
Insureds that would be based on terms including, among others:

“The transfer of the S Corporate Stock to the exempt party is disregarded for

Federal tax purposes. S corporation income will be allocated as if there had been no

transfer of stock to the exempt party.”

(Exhibit 17.)

Each of the foregoing communications and releases from the IRS unambiguously
qualify as a “Claim” under the Policy, defined as “Lv written notice from the Taxing
Authority alleging any Insured m_ay be liable for taxes.” ln fact, the IRS has.determined
that the Insureds are liable for additional federal income taxes in excess of $66 million
based on its assertion that SC2 is an improper and abusive tax shelter. (Exhibit 7.)

As will be detailed below, there is also no ambiguity that these taxes “are directly
related in whole or in part to [an] Insured Tax Event.”

C. At_ Least Three Insured Tax Events Have Occurred.

The Policy defines the term “Insured Tax Event” in the attached “Endorsement No.
1.” Endorsement No. 1, in relevant part, defines “Insured Tax Event” as “[A]n assertion,
at any time during the Policy Period, by a Taxing Authority that with respect to the tax
years 2001 through 2005,

(a) as a result of any action taken by the Named Insured or the
Additional Insureds prior to the lnception Date [August 29,
2001], The Upper Deck Company, a California corporation

(“Upper Deck”) has more lthan one class of stock for purposes of
Section 1361 ofthe Code. . . .

 

12This risk was the subject of KPMG’s Opinion letters Nos. 1 & 2 attached to the
Policy as Exhibit A.

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(d) the post-gift allocations of Upper Deck’s taxable income to
the Municipal Plan are not correct or proper; however, it is a
condition precedent to coverage for this sub-clause (d) that
during the time period or eriods relevant to such an assertion
by the Taxing Authority t e percentage of the total number of
shares of Upper Deck voting and non-voting common stock
outstanding that were owned b the Municipal Plan and the
percentage of the total-post-gi allocations of Upper Deck’s
taxable income that were made to the Municipal Plan during
such time period or periods were equal,

(e) as a result of the gift of the Upper Deck non-voting common
stock to the Municipal Plan by the pre-gift shareholder, any
Upper Deck shareholder or Upper Deck, itself, assigned
income to the Municipal Plan, or 3 . . .

As will be detailed below, the IRS has made various assertions which constitute
Insured Tax Events under subsections (a), (d), & (e) of Endorsement No. 1 to the Policy.
1. The IRS’ Has Asserted That Upper Deck Has More Than One
Class Of Stock -- An “Insured Tax Event” Under Paragraph (a)
of Endorsement No. l of the Policy.

Insured Tax Event (a) of Endorsement No. 1 to the Policy provides for coverage in
the event a Taxing Authority makes an assertion that “(a) as a result of any action taken by
the Named Insured or the Additional Insureds prior to the Inception Date [August 29,
2003], The Upper Deck Company, a California corporation (‘Upper Deck’) has more than
one class of stock for purposes of Section 1361 of the Code.”’ (Emphasis added.)

The IRS made this exact assertion in its Notice 2004-30, which Stated that “the
Service may,also argue that the existence of the warrants [issued March 29, 2001 - before
the lnception Date] results in a violation of the single class of stock requirements of
§ 1361(b)(1)(D), thus terminating the corporation’s status as an S corporation. See, e.g.,
§§ 1.1361-1(1)(4)(ii) and (iii).” (Exhibit 12 [emphasis added].) The IRS published this
assertion in I.R.B. 2004-17 on April 26, 2004, during the Policy Period, Again, these

 

13The risks in 1111 (d) & (e) were the subject of KPMG’s Opinion letter No. 3 also
attached to the Policy as Exhibit A.

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assertions in Notice 2004-30 were made to every SC2 participant

Likewise, the IRS made assertions that the SC2 transaction violated the single class
of stock requirement of section 1361(b)(1)(D) of the lnternal Revenue Code and section
1.1361-11(1) of the Income Tax Regulations IRS in its November 8, 2004 Coordinated
Issue Paper directed to all SC2 participants, which further explained the grounds for the
IRS’ assertion:

[T]he capital structure created in the Notice 2004-30 `
transaction violates the single class of stock requirement of
§ 1361(b)(l)(D) of the Internal Revenue Code and § 1.1361-
l(l) of the Income Tax Regulations. The S corporation election
will terminate on the date the second class of stock is issued
and the corporation will be treated as a C corporation. Thus,
the income will not be allocated to the shareholders and the
income will be taxable to the C corporation. '
(Exhibit 15, CIP pp. 1-2, 6.) (Emphasis added.)

The Coordinated Issue Paper then goes on to state the IRS assertions about the
single class of stock issue, each of which pertains to every SC2 strategy ever implemented
by anyone:

o “[A] corporation is treated as having only one class of stockif all of its
outstanding shares confer identical rights to distributions and li uidation
proceeds § 1.1361-1(1)(1). Section 1.1361-1(1)(4)(iii)(A) provi es, in part,
that a call option, warrant or similar instrument issued by a corporation is
treated as a second class of stock of the corporation if, taking into account all
of the facts and circumstances, the instrument is substantially certain to be
exercised by the holder and has a strike price substantially below the fair
market value of the underlying stock on_ the date that the instrument is
issued.”

0 “ The warrants in these transactions are a second class of stock.” _

(Exhibit 15 [CIP], p. 7 [Emphasis added].)

lt is indisputable that the IRS’ assertions in Notice 2004-30 and the Coordinated
Issue Paper regarding a second class of stock and Upper Deck’s forfeiture of its S status
constitute “lnsured Tax Events” under Endorsement No. 1, 11 (a): “[A]n assertion . . .that
with respect to the tax years 2001 through 2005 as a result of any action taken by the
Named Insured [Upper Deck] or the Additional Insureds prior to the Inception Date

[August 29, 2001], The Upper Deck company . . . has more than one class of stock for

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purposes of Section 1361 of the Code.”. ln this case, the “action taken . . . . prior to”
August 29, 2001 was Upper Deck’s issuance of the warrants on March 29, 2001.
j 2. The IRS Has Asserted That Upper Deck’s Post-Gift Allocation Of
Income To The Austin Firefighters Was Improper -- An “Insured
Tax Event” Under Paragraph (d) of Endorsement No. 1 of the
Policy._

Insured Tax Event (d) of Endorsement No. 1 to the Policy provides for coverage in
the event a Taxing Authority makes an assertion that the post-gift allocation of 90% of
Upper Deck’s income to the Austin Firefighters is not correct or proper.

The IRS has in fact made this exact assertion on at least four occasions.

First, Notice 2004-30, which the IRS released in Apr112004, addresses and
describes the generic “S Corporation Tax Shelter” (otherwise known as SC2) and states
that these transactions are “designed to artificially shift the incidence of taxation on S
corporation income away from taxable shareholders to the exempt party” and that the IRS
“intends to challenge the purported tax benefits from this transaction.” (Exhibit 12.)
Notice 2004-30 unequivocally asserts that the shifting of the income allocation to the
charitable organization from the individual pre-gift shareholder is improper and will be
challenged by the IRS. It is therefore indisputable that Notice 2004-30 constitutes an
“Insured Tax Event” under the Policy.

Second, Notice 2004-30 is the subject of the IRS’ November 8, 2004 Coordinated
Issue Paper which “discuss[es] the grounds for taxing the proper taxpayers on the income
from the corporation’s business.. . . in Notice 2004-30 transactions.” (See, Exhibit 15.)
The Coordinated Issue`Paper states that the participating charitable organization in each
and every SC2 transaction “should not be treated as a shareholder for purposes of the
allocation of income” and that “the transfer of the S corporation stock tothe exempt party
will be disregarded for F ederal tax purposes.” (Exhibit 15, pp. 1, 5.) Gnce again, the
assertions made by the IRS in the Coordinated Issue Paper clearly constitute an “Insured

Tax Event” as defined by definition (d) of Endorsement No. l to the Policy.

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Third, in its August 2004 IDRs and the August 6, 2004 correspondence which
promptly followed the transmission of the IDRs the IRS reiterated these assertions The
August 6, 2004 correspondence, re: “examination of Upper Deck Co., Notice 2004-30
transactions,.” advised that the IRS:

ha[d] begun an examination of the tax returns indicated above
[returns of Upper Deck Co.] with respect to transactions
described in Notice 2004-30[.] . . . Notice 2004-30 states that
v the Service will challenge transactions in which S corporation
shareholders attempt to transfer the incidents of taxation on
_S corporation income by purportedly donating the
S corporation non-voting stock to an exempt
organization[.] . . . See Notice 2004-30 for the government’s
position. The aforementioned examination is proceeding and
must still be concluded.
This August 2004 assertion by the IRS again falls squarely within the definition of an
“Insured Tax Event” set forth in Endorsement No. 1, 11 (d).

Fourth, in the August 7, 2005 “settlement correspondence,” a form of which was
sent to all SC2 participants, the IRS informed all three Insureds that the IRS had
“evaluated the issues present in the transaction described in Notice 2004-30” and
“propose[d] to resolve issues related to the S corporation charitable contribution
transactions, including related penalties” in part by resolving that:

-2. The transfer of the S corporate stock to the exempt party
is disregarded for federal tax purposes. S co oration income

will be allocated as if there had been no trans er of stock to the
exempt party.

(Exhibit 17.)
This is yet another “Insured Tax Event” as defined by Endorsement No. l, 11 (d) of

the Policy.

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3. The IRS Has Asserted That A Shareholder Of Upper Deck
improperly Assigned Income To The Austin Firefighters -- An
“Insured Tax Event” Under Paragraph (e) of Endorsement No. 1
of the Policy.

Insured Tax Event (e) of Endorsement No. 1 to the Policy provides for coverage in
the event a Taxing Authority makes an assertion “as a result of the gift of the Upper
Deck’s non-voting common stock to the Municipal Plan by the pre-gift shareholder, any
Upper Deck shareholder of Upper Deck, itself, assigned income to the Municipal Plan.”

Again, the IRS made this exact assertion in its Notice 2004-30, which attacked all
“transactions . . . in which S corporation shareholders attempt to transfer the incidents of
taxation on S corporation income.” Notice 2004-30 “alerts taxpayers and their
representatives that these transactions are tax avoidance transactions” and are “designed to
artificially shift the incidents of taxation on S corporation income away from taxable
shareholders to the exempt party.” Notice 2004-30 states “the Service intends to challenge
the purported tax benefits of this transaction based on the application of various theories,
including judicial doctrines such as substance over forrn.” This assertion by the IRS (again
clarified by the IRS’ Coordinated Issue Paper (at pp. 1, 3-6) was yet another “Insured Tax
Event.”

In its August 7, 2005 settlement proposed correspondence, the IRS informed all
three Insureds that the IRS had “evaluated the issues present in the transaction described in
Notice 2004-30” and “propose[d] to resolve issues related to the S corporation charitable '
contribution transactions, including related penalties” in part by resolving that:

2. The transfer of the S corporate stock to the exempt party

is disregarded for federal tax purposes. S corporation income

will be allocated as if there had been no transfer of stock to the

exempt party.

(Exhibit 17.)
This is yet another “Insured Tax Event” as defined by Endorsement No. 1, il (d) of

the Policy.

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D. The lnsureds’ Tax Loss.

The Policy defines “Insured Tax Loss” as “any Taxes, lnterest, fines or penalties
owed by the Insured to a Taxing Authority directly related to the Insured Tax Event,
subject to all of the terms, conditions and exclusions of the Policy.” (Exhibit 1 [Policy],
11 2. DEFINITIONS, (j).) _

ln conjunction with the “Claim” and based on the “Insured Tax Events” (i.e. that
SC2 was improper) the IRS has now determined that Mr. McWilliam must pay an
additional $l4,085,520.00 in federal income taxes for the 2001 tax year, and an additional
$52,691,914.00 in federal income taxes for the 2002 tax year. (See, Exhibit 7 [Forms
870].) Moreover, the IRS has indicated that interest on the aforementioned deficiencies
“will accrue from the due date of the return until paid.” (Exhibit 7, [Continuation Sheets
attached to Forms 870].) Accordingly, the $66 million in back-taxes to be paid by Mr.
McWilliam will be in addition to the applicable interest rate on the $66 million from the
respective dates of the original filing deadlines for Mr. McWilliam’s 2001 and 2002

federal tax returns. Thus, with interest, the Insureds’ federal tax liability arising out of the

 

failed SC2 tax strategy will be over $70 million -- well in excess of the $50 million Policy
limit. As of the filing of this brief, the Insureds are in the final stages of completing the

settlement with the IRS, and expect the settlement payment to be made by the time of the

` Hearing on this matter.

The Insureds’ tax loss is much more than the $70 million plus in federal back-taxes
and interest; it also includes over $17 million in back-taxes Mr. McWilliam has already
paid the California FTB under the VCI program. As with the federal returns, Mr.
McWilliam filed joint California state tax returns with his wife for the same two years
(2001 and 2002) in which Upper Deck was participating in the SC2 tax strategy. Under
the VCI program, Mr. McWilliam paid back-taxes to the FTB in the amount of $3,760,452
for the.2001 tax year (only March 31 through December 31). For 2002, Mr. McWilliam
paid back-taxes to the FTB in the amount of $13,3 14,610.

Thus, in all, based on assertions made by Taxing Authorities that the SC2

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transaction improper as structured by KPMG, With specific assertions constituting lnsured
Tax Events under the Policy, the Insureds have and will incur increased tax liabilities in
excess of approximately $90 million -- some $40 million over and above the Policy limits.
IV. AIG’S DENIAL OF COVERAGE AND ITS STATED 'REASONS FOR

DOING SO FIND NO SUPPORT IN THE POLICY OR APPLICABLE LAW.

In the face of the foregoing evidence of the Insureds’ covered Tax Loss well in
excess of the Policy limits, AIG contends that in fact no Insured Tax Loss has occurred at
all. AIG’s refusal to acknowledge the occurrence of a valid lnsured Tax Loss covered by
the Policy is not surprising as it appears that AIG never really intended to honor its
coverage obligations under this Policy. lndeed, in an email dated August 28, 2001 -- the
day before the Policy incepted -- one of AlG`s underwriters evidenced that the long-term
strategy of AIG was not to honor its Policy obligations and treat the Insureds in good faith,
but rather, was to begin preparing the file for a defense to coverage in the event a covered
risk materialized even before the Policy had been incepted:

1 know that you still have some issues w/ CFO departure but if

something did happen and we can trace it back to him, it gives
our claims department a good position to make some

arguments
(Exhibit 22.)
A. AIG Has Raised A Variety Of Specious Coverage Defenses Over the
Past Few Years, M_any Of Which It Has Dropped.

Consistent with the corporate culture and intent evidenced in this August 28, 2001
email, when it first became apparent that SC2 would fall victim to IRS and FTB scrutiny
and that the Insureds would sustain an Insured Tax Loss under the Policy, AIG began
“make some arguments” - without regard to their merit -- in an effort to escape or defer
any payment of Policy benefits to the Insureds.

1. AIG’s Refusal To Acknowledge The Existence Of A Claim.

First, beginning with correspondence dated August 27, 2003 and continuing at least

until April 19 , 2005, AIG repeatedly refused for over a year and half to even acknowledge

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that a “Claim” had been made by a Taxing Authority. (Exhibits 23 and 24.) AlG did so
even though as early as April 29, 2002 that recognized it “likely need[ed] to create . . .
claims files for each of the 4 insureds . . . [and that events of April 2002] will no doubt
trigger defense costs” (Exhibit 32.)

.Recall that the Policy defines “Claim” as “a_nv written notice from any Taxing
Authority alleging that By lnsured M be liable for taxes . . . .” (Exhibit 1, Definition (a)
[emphasis added].) AIG continued to deny the existence of a “Claim” even after the IRS
subpoenaed the identities of SC2 participants from KPMG in April 2002, after the IRS
released Announcement 2002-2 (the disclosure initiative), released Notice 2004-30
(identifying SC2 as a listed transaction), after the IRS served the August 2004 IDRs on the
lnsureds, after the IRS released its Coordinated lssue Paper in November 2004, and after
the IRS sent out the universal settlement offer to all SC2 participants in ‘April 2005.
lnternally, AIG recognized it would have to pay defense costs or “Contest Expenses” in
response to these claims with the first of these events in 2002, AIG remained steadfast in
its denial to the Insureds that even a “Claim” existed under the Policy or that “Contest
Expenses” were owing for at least three years thereafter.

2. AIG’s Contention That lt Was Somehow Misled About Upper
Deck’s Potential For Growth.

Apparently subscribing to the theory that a good Policy coverage defense would
begin with offensive assertions about its Insureds, AIG began proffering the theory that it
was somehow misled by the Insureds during the underwriting process because the actual
tax exposure of the Insureds turned out to be well in excess of $50 million. (See, e.g.,
Exhibit 25 [January 29, 2004 letter from AIG to lnsureds]; Exhibit 26 [l\/larch 8, 2004
letter from AIG to lnsureds]; Exhibit 27 [May 11, 2004 letter from AlG to lnsureds].) For
well over a year AIG suggested that it was misled by the Insureds about Upper Deck’s
prospects for income growth and that AIG “would not have issued the policy on the same
basis if AIG had appreciated the insured would have significant above limits exposure that

AIG would be requested to consider in a claims situation.” (la’.)

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Put bluntly, AIG asserted it would never have underwritten a 350 million policy if
AIG understood the Insureds might suffer a $50 million insured loss. To this end,'AIG
repeatedly suggested that it did not receive adequate information of Upper Deck’s potential
relationship with Tiger Woods and Upper Deck’s launch of its Yu-Gi-Oh product line.14

While AIG appears to have abandoned this misrepresentation line of defense as
AIG did not raise the defense in either its Arbitration pleadings or its July 29, 2005
correspondence denying coverage for the claim, if AIG attempts to resurrect this fraud in
the inducement defense to coverage it would have to prove by clear and convincing
evidence that the Insureds intentionally defrauded AIG by concealing and or affirmative
misrepresenting material facts regarding its potential for economic growth. Banque Arabe
Et Internationale D ’Invesz‘l'ssement v. Maryland Nat ’l Bank, 57 F.3d 146, 153 (2d Cir.
1995) (questioned, criticized, on`other grounds). That is a burden AIG can never meet.

There simply is no evidence that the Insureds concealed or misrepresented any
information regarding its economic potential for -growth. In fact, despite its attempts to
paint a contrary picture, AIG was always in possession of the relevant information and had
been apprised from the outset -- before the Policy was issued -- as to the real economic
prospects for growth for Upper Deck,

Prior to the issuance of the Policy, as discussed in further detail below, Upper Deck
gave AIG access to Upper Deck’s consolidated and audited financial statements, to
confidential information related to Upper Deck’s negotiations for a deal with Tiger Woods,
to detailed income projections for Upper Deck’s entire business, and to virtually any other
financial information AIG requested in connection with determining the risk and
appropriate scope of coverage to provide to the Insureds.

Moreover, with respect to the product line which ultimately drove Upper Deck’s

income to unprecedented levels, Upper Deck did not even sign its first letter of intent to

 

14Due almost entirely to a sales explosion of its new Yu-Gi-Oh product line launched in
2002, Upper Deck experienced a dramatic increase in profits during the years in which the
Policy was in effect, Much like the sales of “Pokemon” products in previous years, Yu-
Gi-Oh products emerged as a sales phenomenon in the industr .

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market the Yu-Gi-Oh products until April 2002, some 8 months after the issuance of the

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Policy. Despite this undeniable reality, AIG continued to assert that the Insureds had
somehow misled AIG regarding the profits that would be realized from Yu-Gi-_Oh sales l
which started over a year after the Policy incepted. . (See, e.g., Exhibit 26 [March 8, 2004
letter from AIG to lnsureds]; Exhibit 27 [May 11, 2004 letter from AIG to Insureds].)
AIG also received (and appended to the Policy as Exhibit E) the FMV valuation
report, dated March 31, 2001, which provided a detailed analysis of Upper Deck’s

business, the history of the company from its inception, its economic outlook, and its

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Upper Deck operated and the market share Upper Deck maintained at the time; (2) the

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diversity of its product lines; (3) the significance of its brand and trademark; (4) the

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relationship it enjoyed with its licensors; (5) its product development record; and (6) its

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expansion strategy. (Exhibit 1 [Policy, Exhibit F].) Of particular importance is the FMV

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report’s discussion of “Collectible Card Games” like Yu-Gi-Oh as it would be this

entertainment segment of Upper Deck’s business that would eventually experience

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report offered the following analysis regarding “Collectible Card Games”:

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The popularity of collectible card games (“CCG”s) has
increased enormously over the past few years. The wildly
successful Pokemon CCG has laid the foundation for what
should be a very promising new line of products for Upper
Deck, Based on the acceptance of this product and the
company’s success in getting the appropriate licensin
approvals, Upper Deck plans to develop games in all four
sports. Of course, given the company’s recent success with
Digimon a well as the lpromising entertainment licenses in its
arsenal, Upper Deck a so intends to aggressively pursue
entertainment CCG opportunities Upper Deck is highly
optimistic about the growth prospects m the CCG market and
is pcl)(ised to capture a sizable share of this new and exciting
mar et.

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(Exhibit l [Policy Ex. E, p. 7].)

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FMV’s valuation report also included an analysis of the relevant market and

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projected prosperity of the entire industry in which Upper Deck operated. (see generally

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earning capacity. The FMV’s valuation report discusses: (1) each of the markets in which

freakish and unpredictable growth during the Policy period. (]d. at 7-8.) FMV’s valuation

 

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la’.) ln short, in receiving a copy of the FMV report (which became an exhibit to the
Policy) and having communication access to FMV itself, AIG was provided with an
extensive and thorough economic analysis of every aspect of Upper Deck’s business and
its potential for growth over the years for which AIG was underwriting the Policy.

As indicated, AIG also raised the issue of whether the FMV valuation report was
reliable as it did not include any reference to a potential Tiger Woods deal that Upper Deck
would eventually finalize after the FMV valuation report was issued. This too, was just
another example of AIG making absurd accusations to try and avoid its coverage
obligation. The reality is that Tiger Woods was often discussed during the underwriting of
the Policy, and AlG had several discussions and written communications with Marsh, the
Insureds’ broker, regarding the potential for a Tiger Woods-deal before issuing the Policy.
AIG was also aware that the Fl\/IV report would not have been any different had the Tiger
Woods deal actually been entered into prior to the issuance of the FMV valuation report.
(See; e.g., Exhibit 28 [August 28, 2001 letter from Marsh to AIG].) The open
communication about Tiger Woods, for example, is exhibited in one of the final
communications from Marsh to AIG shortly before the Policy was issued, a letter in which
Marsh advised:

Given the potential for growth with the potential signing of
Tiger, the projected numbers provided to AIG, at AIG’s
request, to justify the higher insurance limit were provided

showing the “best case scenario” income projections with the
new line and the addition of Tiger Woods.

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AIG now appears to have abandoned these specious fraud in the inducement
arguments based on Tiger Woods and Yu-Gi-Oh as there is no mention of them in any of
AIG’s Arbitration pleadings or AIG’s July 29, 2005 coverage denial letter. Nonetheless,
AIG’s pursuit of these types of arguments to dissuade the Insureds from pursuing benefits
under the Policy evidence the scorched earth tactics employed by AIG to avoid honoring

its obvious contractual obligations to the Insureds under the Policy.

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B.' AIG’s Assertion That The Insureds’ Breached a Warranty Is Without
Merit.
1. To Defeat Coverage, An Insured’s Breach Of Warranty Must
Materially Increase. The Risk Of Loss.

A breach of warranty defense is governed by New _York Insurance Law section
3106,, which permits an insurer to avoid liability only if an insured’s breach an express
warranty or representation “materially increases the risk of loss, damage or injury within
the coverage of the contract.” N.Y. lns. Law, § 3106(b). To establish this defense, the
insurer must “show the existence of a warranty, its breach and that such breach ‘materially
increased the risk of loss.”’ Irv-Bob Formal Wear, Inc. v. Public Service Mutual Ins. Co.,
366 N.Y.S.2d 596, 602 (N.Y.Civ.Ct. 1975) (ade by lrv-Bob Formal Wear, In'c. v. Public
Service Mut. Ins. Co., 383 N.Y.S.2d 832).

Significantly, a warranty “is clearly n_o_t_ a provision limiting coverage by excluding
all but a stated risk (citation), but is ‘an undertaking that some particular thing be done.”’
[rv-Bob Formal Wear, Inc., 366 N.Y.S.2d at 602 (emphasis added). Therefore the
arbitrators should draw a clear distinction between AIG’s assertions that warranties which
are not the subject of a Policy exclusion have been breached and AIG’s assertions that the
loss at issue was caused by a peril excluded by the Policy.

Whether an insured’s warranty has been breached is determined in light of the
scope of the language of the warranty provided by the insured. See Irv-Bob Formal Wear,
lnc., 366 N.Y.S.2d 596. As with all language in an insurance policy, any ambiguities in
the warranty must be construed against the insurer. Ia’. at 603. Therefore, the insurer may
not enforce a warranty unless the language of the express representation made by an
insured is unambiguous and clearly stated. Ia’. at 603 (finding that insured did not breach
warranty requiring proper records be made and maintained where “[t]he policy did not
specify what kind of records were to be kept” and “[i]f defendant wanted a particular kind
of record to be kept, it presumably would have so stated in the policy”).

Moreover, the burden is on an insurer to allege and prove that a material increase in

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risk occurred due to the a breach of warranty attributable toa false representation made by
an insured. Fl`rst Fea’eral Savz`ngs and Loan Asso. v. Nz'chols, 306 N.Y.S.2d 542, 546 (4th
Dept. 1970). The mere allegation of an increased risk is insufficient Ia’. The relevant
measure of the materiality of the breach is the risk of loss over the life of the policy.
United States Fz're Ins. C0. v. P/<;fz`nans lm"l Corp., 904 F.2d 169, 170 (2d Cir. 1990)
(creditor entitled to payment under loan insurance policy, despite fact that underlying
promissory note was amended without insurer’s consent in violation of policy’s terms,
where the amendment, although a breach of warranty by the insured, did not materially
increase insurer’s risk of loss).
2. The Insureds Neither Breached Any Warranties Given To AIG

Nor Did Any Alleged Breach Materially Increase The Insureds’

Risk Of Loss.

AIG’s breach of warranty defense is based on the warranties and representations
provided by the Insureds in a September 4, 2001 Representation Letter, which is attached
as Exhibit B to the Policy. (Exhibit 1.) Other than the warranties set forth in the
Repr`esentation Letter, the Insureds did not make any other warranties in connection with
the Policy.

The Representation Letter simply “represents and warrants” that:

The facts, assumptions of fagg and understandings of M set

forth in the opinions of KPMG LLP attached as Exhibit A to

the Policy were true and correct on the date of such o inions

and continue to be true and correct on the date hereo .
(Exhibit 1 [Policy, Exh. B], [emphasis added].) AIG asserts that the Insureds made
breached three alleged factual warranties identified in Paragraph 55 of AIG’s Complaint:

“The facts, assumptions of fact, and understandings of fact” set

forth in the KPMG opinions were not “true and correct” in that

the KPMG opinions contained several material

misrepresentations, including but not limited to, the

representations that: (1) the redemption price was to be “the

fair market value of the stock on the date that [Firefighters]

presents the stock for redemption”; (2) neither Upper Deck nor

McWilliam had the power to compel Firefighters to present the

_stock it owned for redemption; and (3) the transaction set forth
iri the opinions was a lawful strategy that “should” survive IRS

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scrutiny.

The only conceivable place in KPMG’s opinion letters where AlG might dredge up
the first two of these alleged factual warranties is KPMG’s opinion letter “Re: Charitable
contribution to [Austin Firefighters] . . .” which includes the following language:

On March 31, 2001, the Shareholder and the Municipal Plan
[Austin Firefighters] entered into a shareholders agreement
(‘Shareholders’ Agreement’) . . .
[a]s part of [specifically as section 5 of] the Shareholders
Agreement [attached to the Policy as Exhibit C], Upper Deck
and Municipal Plan entered into a redemption agreement.
Under the redemption agreement,[in section 5 of the
Shareholder’s Agreement] Municipal Plan may present the
Non-Voting Common Stock it owns for redemption by Upper
Deck, beginning April l, 2003. The redemption amount is the
fair market value of the stock on the date that Municipal Plan
presents the stock for redemption. Neither Upper Deck nor the
Shareholder [the MPR Trust] have the power to compel
Municipal Plan to present the stock it owns for redemption.
(Exhibit 1 [Policy, Ex. A].)

As is apparent from the language quoted immediately above, the only “facts”
regarding the “redemption price and the Insured’s ability to “.compel . . .present[ation] [of]
the stock . . . for redempt.ion” discussed in the relevant KPMG’s relevant opinion letter are
that “the Shareholder and the Municipal Plan entered into a shareholders agreement,” and
that part of the Shareholders’ Agreement (specifically, section 5) included a redemption
agreement Both of these factual assertions are indisputably correct. The Insureds cannot
be found to have breached a warranty by virtue of misstating these facts.

The balance of the above-quoted language from the KPMG opinion letter “Re:
Charitable Contribution . . .” statements are nothing more than legal conclusions, which
AIG was free to evaluate by itself and undoubtedly did evaluate. These statements were
not -- either on May 2, 2001, September 4, 2001 or at any other time - representations of
“facts, assumptions of fact, [or] understandings of fact.” For example, the statement that
neither Upper Deck nor the Shareholder have the power to compel the Austin Firefighters

to present the stock it owns for redemption under Section 5 of the Shareholder Agreement

is not a representation of fact, but simply a statement of the legal effect of the

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Shareholders’ Agreement.15 AIG could and undoubtedly did evaluate such legal realities
for itself. Moreover, regardless of whether any of these additional statements are factual
statements or legal conclusions, there is nothing in these statements which is even remotely
inaccurate

Notwithstanding the foregoing realities about the factual warranties given the
Representation Letter, AIG somehow maintains that the Insureds breached some
unidentified and unspecified warranty in the Representation Letter or KPMG opinion to
the effect that the redemption agreement/put option process set forth in Section 5 of the
Shareholder Agreement would be the exclusive manner in which the Austin Firefighters
stock could be transferred No such representation or warranty was ever given.

By way of background, recall that the SC2 transaction provided the participating
charitable organization with a ‘put’ option, which could be exercised within the sole
discretion of the charitable organization to cause the S corporation to redeem the non-
voting shares for fair market value within a limited time period in which the put could be
exercised. With respect to the Insureds’ SC2 transaction, the Austin Firefighters received
a put option in Section 5 of the Shareholders Agreement through which the Austin
Firefighters could compel Upper Deck to redeem the donated shares at fair market value
during, and limited to, a 180-day period commencing April l, 2003. While this right
provided the Austin Firefighters the beneficial and unilateral ability to compel Upper Deck
to liquidate its shares, this right only existed during a very limited time frame. Again, this
right was unilateral, existed solely for the Austin Firefighters’ beneficial right, and was
involuntary in that Upper Deck could be forced to redeem or liquidate the Austin
Firefighters’ shares during the limited 180-day redemption period.

ln November of 2002, several months before the commencement of the April 1,

 

15 This also summarily dismisses AIG’s third breach of warranty defense, which is
based on the contention that Upper Deck and the MPR Trust breached a warranty given in
the Representation Letter that “the transaction set forth in the [KPMG] opinions was a
lawful strategy that ‘should’ survive IRS scrutiny.” AIG unbelievably contends that the
Insureds warranted that the very peril AIG was insuring would not materialize. AIG’s
attempt to dove-tail the risk that the SC2 strategy was unlawful into a Policy exclusion is
simply one more example of AIG going to any length to avoid its coverage obligations

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2003 redemption period, Upper Deck and the Austin Firefighters began discussions about
a Austin Firefighter’s voluntary sale of the shares to Upper Deck and Upper Deck’s
voluntary acquisition of the shares from Austin Firefighters. These discussions
commenced after the IRS subpoenaed SC2 participants identities from KPMG and after the
lRS and the Levin Committee had commenced their assault on SC2. Against this
backdrop, Upper Deck offered Austin Firefighters $2 million to purchase the Austin
Firefighter’s stock - roughly a 50% premium over the appraised value of the stock in
March of 200 1. In negotiating the deal, Upper Deck presented the offer to the Austin
Firefighters as a take it or leave it proposition which, if not accepted, would mean Austin
Firefighter’s next opportunity to sell the stock would be when its put option materialized in
April of 2003. Austin Firefighters, who were represented by counsel in the transaction,
eventually accepted Upper Deck’s offer to purchase their stock and on December 31, 2002
the purchase was executed.

ln contrast to the redemption/put option right set forth in Section 5 of the
Shareholders’ Agreement, this purchase was mutual agreed after entry into the SC2
transaction in March of 2001, entirely voluntary and occurred well before the
commencement of the limited 180-day redemption period set forth in the Shareholders’
Agreement relating to the Austin Firefighters unilateral and involuntary redemption rights
under the put option in Section 5. Upper Deck thus acquired the stock in December 2002
from the Austin Firefighters, which left the MPR Trust as the sole shareholder of Upper
Deck,

AIG now tries to confuse the involuntary and unilateral redemption right and
process provided for in Section 5 of the Shareholders Agreement and identified in the
KPMG opinion letter “Re: Charitable contribution to [Austin Firefighters] . . .” with the
transaction that actually occurred iri December of 2002. Simply put, the put procedure
provided in Section 5 of the Shareholders Agreement was never warranted by the Insureds
as the exclusive means through which the shares could be reacquired from the Austin

Firefighters and the actual Shareholder’s Agreement appended to the Policy clearly

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evidenced that this was not the case.

Nowhere in the Representation Letter, theiKPMG opinions, the Shareholders’
Agreement, or anywhere else does anybody assert or suggest the put mechanism of Section
5 of the Shareholder’s Agreement was the only mechanism by which Upper Deck might
acquire the Austin Firefighter’s shares To the contrary, the Shareholders’ Agreement --
Exhibit C to the Policy -- expressly permits the parties to transfer the shares through any
variety of alternative means Section 1 of the Shareholders’ Agreement specifically
permitted the Austin Firefighter’s to “transfer, assign, pledge or . .` . alienate” the shares
without conforming with Sections 5 (“Put Option And Right”) of the Shareholder’s
Agreement. (Exhibit 1 [Policy, Ex. C].)

The third warranty identified by AIG, an asserted warranty_that “the transaction set
forth in the opinions [of KPMG] was a lawful strategy that ‘should’ survive IRS scrutiny”
exists only in the fanciful imagination of AIG’s corporate consciousness This was one of
the very risks that AIG insured against! AIG would have the arbitrators.believe the
insured warranted to the insurer that the risk insured would never materialize. To even
read such a ludicrous position is to reject it.

C. None Of The Exclusions Cited By AIG Are Applicable.

Much like its warranty arguments, all of AIG’s exclusion defenses -- with one
exception to be discussed below -- are based on its characterization of the December 2002
purchase. AIG contends that by purchasing Austin Firefighters’ stock in December 2002
without AIG’s consent and without having obtained a formal third-party fair market
valuation of the non-voting stock at the time of the Repurchase, Upper Deck materially
deviated from the as-structured SC2 strategy. Based on these assertions, AIG contends
that several of the Policy’s exclusions -- as distinct from the warranties in the `
Representation Letter -- now bar the Insureds’ from receiving Policy benefits they would
otherwise be entitled to.

The standards of law relating to coverage issues in the context of a policy exclusion

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are - as previously noted -- different than the materiality standards discussed above
relating to express warranties given by an insured. ln the context of an exclusion “[o]nce a
loss has been established, the burden is on the insurer to prove that an exclusion in the
policy applies to the facts of this particular case.” Gurfein Bros. v. Hanover Ins. Co., 248
A.D.2d 227, 229 (N.Y.App.Div., lst Dept. 1998), citing Seabord Sur. Co. v. Gil-lette Co.,
64 N.Y.2d 304, 311 (N.Y. 1984). “To negate coverage by virtue of an exclusion, an
insurer must establish that the exclusion is stated in clear and unmistakable language, is
subject to no other reasonable interpretation and applies in the particular case.” Throgs
Neck Bagels, In'c., dba A-Whole Lot ofBagelS v. GA Ins. Co. ofN. Y., 241 A.D.2d 66, 71
(lst. Dept. 1998) at 71. ln other words “it is not sufficient for [insurers] to offer a
reasonable interpretation under which the loss is excluded; they must demonstrate that an
interpretation favoring them is the only reasonable reading of at least one of the relevant
terms of exclusion.” McCormick & Co. v. Empl`re Ins. Group, 878 F.2d 27, 30 (2d Cir.
1988). j j

“The rule that insurance policies are to be construed in favor of the insured is
applied most strictly in construing the meaning of an exclusion from coverage.” Hartford
Fz're Ins. Co. v. Mitlof, 208 F. Supp. 2d 407, 412 (S.D.N.Y. 2002); see also Kimmz'ns Indus.
Serv. Corp. v. Reliance Ins. Co., 19 F.3d 78, 81 (2d Cir. 1994). Therefore, “‘where the
meaning of a policy of insurance is in doubt or is subject to more than one reasonable
interpretation, all ambiguity must be resolved in favor of the policy holder and against the
company which issued the policy._”’ Kz'mmz`ns Indus. Serv. Corp., 19 F.3d at 81; see also
McCormz`c/c & Co., 878 F.2d at 30 (“‘well recognized is the general rule that ambiguities in
an insurance policy are to be construed against the insurer, particularly when found in an
exclusionary clause”’).

Most importantly, AIG cannot escape paying Policy benefits to the Insureds based
on the application of any exclusion unless it can meet its burden of demonstrating that the
subject of the exclusion was the “dominant and efficient” cause of the lnsureds’ loss

Throgs Neck Bagels,]nc. dba A-Whole Lot ofBagels v. GA Ins. Co. ofN. Y., 241 A.D.2d

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66, 71 (lst Dept. 1998) at 71. “In determining whether a particular loss was caused by an
event covered by an insurance policy where other, non-covered events operate more
closely in time or space in producing the loss, the question of whether the covered event
was sufficiently proximate to the loss to require that the insurer compensate the insured

will depend on whether it was the dominant and efficient cause”. [d. [emphasis added.]

 

Therefore, when “interpret[ing] an insurance policy excluding from coverage any injuries
‘caused by’ a certain class of conditions ‘the causation inquiry stops at the efficient
proximate cause of the loss.”’ Kimmirzs Industrial Service Corp., 19 F.3d at 81, citing
Album Really Corp. v. Amerl'can Home Assurance Co., 176 A.D.2d 513, 514
(N.Y.App.Div, lst Dept. 1991).

Accordingly, in order for AIG to defeat coverage through the application of a policy
exclusion, it has the burden of establishing that some excluded event under the Policy was
the “dominant and efficient” cause of the Insureds loss

AIG relies on three Policy exclusions to argue that the Insureds are not entitled to
Policy benefits they would otherwise be entitled to: (1) Exclusion (h), which excludes
Policy benefits for any loss proximately and efficiently caused by an amendment to the
Shareholders’ Agreement or Warrant Agreement without prior written approval from AIG;
(2) ; Exclusion (a), which excludes Policy benefits for any loss proximately and efficiently
caused by a criminal or fraudulent act on behalf of the Insureds; and (3) Exclusion (b),
which excludes Policy benefits for any loss proximately and efficiently caused by a
material misrepresentation made by the Insureds in the Representation Letter. As detailed
below, none of the exclusions are applicable and none come even remotely close to rising
to the level of becoming the “dominant and efficient” cause of the lnsureds’ Loss.

1. The 2002 Share Purchase Agreement Does Not Provide The Basis
For Denying Coverage Under Exclusion 3(h).

To memorialize their deal, Upper Deck and the Austin Firefighters entered into the
Share Purchase Agr'eement. (Exhibit 6.) AIG contends that because the Insureds did not
seek or obtain AIG’s consent to execute the December 2002 Share Purchase Agreement,

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the Insureds’ loss is excluded under exclusion 3(h) of the Policy. Specifically, AIG
contends that Clause 5.3 of the Share Purchase Agreement “amended” the Original
Shareholders’ Agreement, bringing the lnsureds’ Loss within exclusion 3(h), which
provides:

The Insurer shall not be liable to make any payment for Loss in

connection with a Claim made against any Insured: . . .to the

extent such Loss arises out of, is based upon or is attributable

to an amendment to the Shareholders Agreement or the

Warrant Agreement attached hereto as Exhibits C and D,

respectively, without the Insurer’s prior written consent (which

consent shall not be unreasonably withheld by the lnsurer).

AIG alleges that because Clause 5.316 of the Share Purchase Agreement “provides
that the Shareholders’ Agreement is terminated with the consummation of the Share
Purchase Agreement on December 31, 2002,” this “[wa]s an amendment thereof which
pursuant to Exclusion (h) operates to exclude coverage, since AIG’s consent was not
obtained.” The Shareholders’ Agreement terminated, quite naturally, because there was

only one shareholder of Upper Deck following Upper Deck’s purchase of Austin

-Firefighters’ shares.. Nevertheless, AIG asserts that the termination of the Shareholders’

Agreement by its own terms incident to the December 2002 transaction was both an
amendment to the Shareholders’ Agreement and thus this so-called amendment was the
“dominant and efficient” cause of the Insureds loss

Notwithstanding AIG’s assertions, it is clear from a review of the Shareholders’
Agreement and the Share Purchase Agreement that AIG’s interpretation is unreasonable
and that exclusion (h) is not applicable under these circumstances First, Section 1 of the
“Shareholders’ Agreement” permits “sales, transfers or dispositions of [Austin
Firefighters’] Shares” “with [] the prior written consent of the Company and the other
shareholders of the Company [MPR Trust].” The Shareholders’ Agreement --which was n

attached as Exhibit C to the Policy -- says nothing about obtaining AIG’s prior consent to

 

16“It is hereby agreed by the parties that Austin’s rights and obligations under the
Shareholders’ Agreement shall terminate effective as of the Closing of the transactions
contemplated hereby and each of the parties hereto expressly waives the application of that
Agreement to the transactions contemplated hereby.”

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such transfer. (Exhibit l [Policy, Ex. C, § 1, p. l].) Moreover, Section 8 of the
Shareholders’ Agreement attached as Exhibit C to the Policy and captioned “Termination
Of Agreement” also provides that [t]he Agreement shall terminate” by its own terms “on
the occurrence of any of the following events: . . . [11]8.3 at such time as only one (1)
Shareholder with the Company remains.” Upon Upper Deck’s acquisition of Austin
Firefighters’ shares, there was “only one (1) Shareholder of the Company remain[ing]” and
the “Shareholder Agreement” terminated by its own terms (Exhibit 6, [Share Purchase
Agreement11 8.3, p. 15].) This “termination of the Shareholders’ Agreement” by its own
terms took place regardless of inclusion of Clause 5.3 in the Share Purchase Agreement.
No part of Clause 5.3 effected “an amendment” of the Shareholders’ Agreement, let along
an amendment that was the dominant and efficient cause of the Insureds Loss.
2. The Insureds’ Alleged Conduct In Connection With The
Acquisition of Austin Firefighter’s Shares Does Not Bring Their
Loss Within Exclusion (a) Of The Policy.
AIG next asserts that the Insureds’ loss is excluded by exclusion (a) of the Policy.
Exclusion (a) of the Policy provides:
The Insurer shall not be liable to make any payment for Loss iri
connection with a Claim made against any lnsured: . . .arisin
out of, based upon or attributable to the committing in fact o
any criminal or deliberate fraudulent act (including without
limitation deliberate civil fraud), or any knowing and
intentional violation of an law, rule, regulation or statute;
provided, however, that e fecting the transactions described in
the Opinions and the filing of Tax Retums with any Taxing
Authority by the Insureds consistent with the transactions
described in the Opinions shall not be the committing in fact of
any criminal or de iberate fraudulent act (including without

limitation deliberate civil fraud) or a knowing and intentional
violation of law, rule, regulation or statute for purposes of this

Clause 3(a).
AIG contends that the Insureds committed fraud in connection with the December
2002 transaction by misleading the Austin Firefighters with respect to the estimated value
of the non-voting shares then held by the Austin Firefighters. Apparently AIG believes v

that because the Insureds purportedly duped the Austin Firefighters into selling back their

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stock at too low a price, this fraud allegedly perpetrated upon the Austin Firefighters -- not
AlG -- results in a 850 million Policy windfall to AIG. ln making this argument, AIG
contends that the factual circumstances underlying the December 2002 transaction were
the dominant and efficient cause of the Insureds Loss and therefore exclusion (a) in the
Policy is applicable

Notwithstanding AIG’s argument to the contrary, there is no evidence whatsoever
that the circumstances surrounding the December 2002 transaction had any causal nexus to
the Insureds’ loss, let alone amounting to the dominant and efficient cause of the loss. To
the contrary, all theevidence -- ranging from the fact that the IRS and Senate
investigations predated the December 2002 transaction and the fact that a_ll 58 SC2
transactions have been attacked and treated uniformly -- demonstrates that the December
2002 transaction purchase has had nothing to do with either the IRS or FTB attacks on the
SC2 strategy. Indeed, even in the setting of these proceedings, each of AIG’s tax experts
acknowledge and opine that a generic and perfectly implemented SC2 tax strategy had a
significant chance for failure and had no better chance than a “reasonable prospect” of
success (Expert Report of Robert D. Burke, p. 9.) Put simply, all of the experts retained
in this action appear to agree that even in the most generic SC2 transaction -- independent
of whether or not a sale of the charity’s stock through a mechanism other than the exercise
of the charity’s put option transpired -- had an inherent risk of failure under the applicable
tax rules, regulations and supporting legal authorities As previously noted, KPMG’s
partners’ own candid but unstated (to the lnsureds) conclusion that if the IRS ever caught
wind of the SC2 strategy, the lRS’s inevitable challenge to it would be “at least partially
successful.” (Exhibit 2, p. 44.)17 These inherent flaws are the dominant risks of the
Insured’s Loss under the Policy, not some erroneously perceived flaw in the December
2002 transaction

Moreover, aside from the fact that SC2 strategy fails irrespective of Lv actual

repurchase, the IRS has never even asserted that the circumstances surrounding the

 

17See footnote no. 10, supra.

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December 2002 transaction are even a contributing factor to the invalidation of the SC2
strategy. Neither the IRS nor the FTB have ever made a “Claim” asserting that the
lnsureds’ SC2 strategy fails because of an alleged fraud in connection with the December
2002 transaction. Nothing iri the Notice 2004-30, in the lDRs and related correspondence,
or in the April 7, 2005 letters suggests anything improper with the December 2002
transaction or that the particulars of Upper Deck’s acquisition of Austin Firefighter’s
shares had anything to do with the IRS’ actions For example, Notice 2004-30 describes
the targeted transaction as involving “one or more agreements (typically redemption
agreements rights of first refusal, put agreements or pledge agreements) entered into as
part of the transaction [whereby] the exempt party can require the S corporation or the
original stockholders to purchase the exempt party’s non-voting stock for an amount equal
to the fair market value of the stock as of the date the shares are presented for repurchase.”
(Exhibit 12.) This is an exact description of the SC2 strategy AIG insured. Notice 2004-
30 does not in any way suggest that it is somehow relates to the existence of a subsequent
purchase that was not required by one of the agreements entered into as part of the original
SC2 transaction

Thus, because the Policy’s fraudulent act exclusion requires a “Claim” made against
“any insured . . . attributable to the committing in fact of any criminal or deliberate
fraudulent act” and because no such “Claim” has ever been asserted by a Taxing Authority
in connection with the December 2002 transaction, the fraudulent act exclusion (a) under
the policy cannot bar coverage for the Insureds Loss.

AIG contrived and advanced its feckless fraud argument in connection with
Exclusion No. 3(a) and the December 2002 transaction simply to avoid or delay payment

under the Policy.18

 

18lt bears mentioning that AIG’S fraud ar ument is based upon Upper Deck’s alleged
affirmative disclosure obligations under Cali ornia Corporations Code, section 25402,
governing insider trading and affirmative disclosure obligations However, as discussed
further below, the Policy exclusions are limited to violations of New York law. Therefore,
any alleged violation of California"s blue sky laws is irrelevant

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3. The Insureds Cannot Bring The Loss Within Exclusion (b) of The
Policy.
AIG next attempts to bring the Loss within exclusion (b) of the Policy, Which
provides that AIG:
f shall not be liable to make any payment for Loss in connection
with a Claim made against any lnsured arising out of, based
upon or attributable to any material inaccuracy in the facts
set forth or referenced in the Representation Letter[]
As discussed above in response to AIG’s breach of warranty defense, the Insureds
did not make any materially inaccurate statements factual or legal, in their Representation
Letter. Nor has AIG ever suggested a mechanism by which the alleged inaccuracy of these
fanciful misstatements of fact served as the dominant cause of the Insureds Loss. This
exclusion affords AIG no comfort.
D. Section 10 Of The Policy’s Provisions Regarding Subrogation Are No
Bar To The Insureds’ Recovery.
AIG’s next raises as a defense to coverage Section 1019 of the Policy. which grants
AIG a right of subrogation which is expressly conditioned on AIG “mak[ing] . payment
under [t]he [P]olicy in respect of [L]oss” and “an implied obligation to act in good faith,
which [allegedly], at a minimum, obligated [lnsureds] not to alter the transaction to AIG in
a manner that would increase the likelihood of the tax authority challenging the transaction
and increase the likelihood of the tax authority prevailing if such were challenged.”
(Comp.11 76 p. 12.)
With regard to Section 10 of the Policy, Subrogation, AIG claims “Respondents . . .
impaired [AlG’s] rights of subrogation against the Government” and prays for a

declaration “[t]here is no coverage due to . . . Respondents’ impairment of AIG’s

 

19“lf the Insurer makes any payment under this Policy in respect of Loss, the Insurer
shall be subrogated, to the extent of such payment, to all rights and remedies of the
Insureds in respect of such Loss, and the Insurer shall be entitled at its own expense to sue
in the name of the Insureds; provided, however, that such right of subrogation shall in no
event be exercisable against any of the Insureds All Insureds shall take all reasonable
action requested in writing by the Insurer to secure the rights and remedies of the lnsurer in
subrogation.”

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subrogation rights.” This argument, however, fails as AIG could never have “rights of
subrogation against the Government” under Section 10 of the Policy; AlG.only insured
against liability owing to the Government. Moreover, AIG did not “mak[e] . payment
under [t]he [P]olicy in respect of [L]oss.”

“[A]n insurer who pays claims against the insured for damages caused by the
default or wrongdoing of a third party is entitled to be subrogated to the rights which the
insured would have had against such third party for its default or wrongdoing.” (Neuss,
Hesslein & Co. v. 380 Canal St. Really Corp. (1957) 168 N.Y.S.2d 579, 582). The right of
subrogation “is based upon principles of equity and natural justice,” because the courts
“recognize at once the fairness of the proposition that an insurer who has been compelled
by his contract to pay to or on behalf of the insured claims for damages ought to be
reimbursed by the party whose fault has caused such damages and the principle of
subrogation ought to be liberally applied for the protection of those who are its natural
beneficiaries.” Id. These principles create no right in AIG to recover taxes paid on behalf
of the Insureds to “the Govemment” back from “the Government.”

Any rights of AIG to “Recovered Payments” which the Insureds may pursue as
refunds from “the Government” are addressed not in Section 10 of the Policy, but instead
under the Policy’s Section 11. REFUNDS AND REIMBURSEMENTS (See Section 11,
esp. 1111(a)(i)&(iii).) Section 11 commits discretion to pursue and control over pursuit of
any “Recovered Payments” to the Insureds and not to AIG. Only if the Insureds obtain
“Recovered Payments” are the Insureds required to account for any “Recovered Payment."’

With regard to the question of “good faith” AIG raises no issues not previously
raised and discussed above -- AIG simply reiterates its arguments that “[b]y entering into
the Share Purchase Agreement and compelling [Austin] Firefighters to redeem its non-
voting common stock at a price substantially below fair market value, Respondents failed
to observe . . . requirement[s] set forth in the KPMG opinions” and that “changes in the
transaction wrought by Respondents without AIG’s consent make it virtually impossible to

defend the transaction under the tax laws.” This argument, however, implies that SC2 is

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otherwise defendable under the tax code. But, SC2 is indefensible.

Moreover, an insured’s breach of an implied covenant of good faith can never
constitute a defense to the insured’s claim against the insurer. See, e.g., Kransco v.
American Empz're Surplus Ll'nes Ins. Co., 23 Cal.4th 390 (2000).

E. Mr. McWilliam Was Not Obligated To Take A Charitable Deduction

For Gifting The Non-Voting Stock To Austin Firefighters In Order For
The Insureds To Recover Under The Policy.

AIG also contends that Mr. McWilliam’s failure to take a charitable deduction in
2001 for the non-voting stock he gifted to the Austin Firefighters, amounts to the failure of
a condition precedent as set forth in Section 9(b) of the Policy. Section 9(b) of the Policy
provides in pertinent part: n

lt is a condition precedent to the right of the Insureds to be
indemnified hereunder that the Insureds comply with the terms
and conditions of sub-clause (a) and (b) below: . . .

(b) Tax Retums etc. The Insureds shall have prepared and
field all applicable Tax Returns in a manner materially

consistent with that anticipated by the Opinions and/or the
Representation Letter.

 

As pointed out in the Steven R. Mather’s initial expert report, AIG’s theory that Mr.
McWilliam’s failure to take a charitable deduction has any bearing whatsoever on the risk
of loss or the ultimate sustaining of a covered loss under the Policy is misguided and
without merit. (See, Expert Report of Steven R. Mather, p. 20.) The charitable
contribution deduction was simply not an integral part of the SC2 transaction, and the IRS
has made it clear that this aspect of the SC2 strategy was not a critical element of the
transaction In Notice 2004-30, the lRS stated the following in its summary of the
transaction:

The original shareholders might also claim a charitable
contribution deduction under § 170 for the donation of the
nonvoting stock to the exempt party. ln some variations of this
transaction, the S corporation may issue nonvoting stock

directly to the exempt part.

(Exhibit 12, [emphasis added].) Thus, in at least some of the 58 SC2 transactions carried

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out in the United States, the stock was not gifted at all, but rather simply issued directly to
the participating charitable organization Yet, mindful of the fact that al_l 58 SC2
participants were treated uniformly by the IRS, it is clear that notwithstanding variations in
whether a charitable deduction was taken by an SC2 participant, the IRS simply did not
take that into consideration when deciding whether to attack the aspects of SC2
participants use of the strategy in other respects Specifically, whether or not a charitable
deduction was taken had nothing to do with the IRS position that the warrants created a
second class of stock threatening to render the S corporation and a C corporation and
nothing to do with whether or not the allocation of the corporation’s income between the
shareholders was correct. Those are the matters for which Mr. McWilliam now seeks
compensation under the Policy.

Along the same lines, applying the principles stated in New York’s Insurance Law
section 3106, l\/lr. McWilliam’s decision to not to seek a charitable deduction should have
no bearing on the"issue of coverage under the Policy of the Insureds’ tax loss

New York Insurance Law, section 3106(b) provides that a

breach of warrant shall not . . . defeat recovery thereunder
unless such breac materially increases the risk of loss, damage
or injury within the coverage of the contract. lf the insurance
contract specifies two or more distinct kinds of loss, damage or
injury which are within its coverage, a breach of warranty shall
not . . . defeat recovery thereunder with respect to any kind or
kinds of loss, damage or injury other than t e kind or kinds to
which such warranty relates and the risk of which is materially
increased by the breach of such warranty.

Mr. McWilliam’s lack ofa charitable deduction on his 2001 tax return for MPR’s
contribution of Upper Deck stock to Firefighters did not “materially increase the risk of
[these kinds] of loss, damage or injury” and therefore is entirely immaterial to the
determination of whether the Insureds’ loss is covered under the Policy. (New York lns.
Law, § 3106.)

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